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                EXHIBIT 13
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                                Melanie Freiberg
                               February 16, 2023




· · · · IN THE UNITED STATES DISTRICT COURT
· · · · FOR THE WESTERN DISTRICT OF WASHINGTON
· · · · ---------------------------------------------------x

· · · · AUBRY MCMAHON,

· · · · · · · · · · Plaintiff,· · ·Case No.:· 2:21-cv-00920

· · · · · · · ·-against-

· · · · WORLD VISION, INC.,

· · · · · · · · · · Defendant.

· · · · ---------------------------------------------------x

· · · · · · · · · · VIDEO CONFERENCE
· · · · · · · · · · DEPOSITION
·
· · · · · · · · · · February 16, 2023
· · · · · · · · · · 2:00 p.m.

·

· · · · · · · · · · EXAMINATION BEFORE TRIAL of

· · · · MELANIE FREIBERG, a nonparty witness on behalf

· · · · of the Defendant herein, taken by the attorney(s)

· · · · for the Plaintiff, pursuant to Notice, held at

· · · · the above-mentioned time and place, before

· · · · THERESA RATIGAN, a shorthand reporter and Notary

· · · · Public within and for the State of New York.

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·1                                                              ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · A P P E A R A N C E S:
·3
                                                                ·2· · · · · · · · · ·(Time noted:· 2:06 p.m.)
·4· · · · ·NISAR LAW GROUP, PC                                  ·3· · · · · · · · · ·THE REPORTER:· Good afternoon.· My name
· · · · · · · ·Attorneys for Plaintiff                          ·4· · · · · · ·is Theresa Ratigan.· I'm with U.S. Legal
·5· · · · · · ·60 East 42nd Street, Suite 4600
· · · · · · · ·New York, New York 10165                         ·5· · · · · · ·Support, and I am the court reporter this
·6                                                              ·6· · · · · · ·afternoon.
· · · · · ·BY: CASEY WOLNOWSKI, ESQ.
                                                                ·7· · · · · · · · · ·The attorneys participating in this
·7· · · · · · ·cwolnowski@nisarlaw.com
·8                                                              ·8· · · · · · ·deposition acknowledge that I am not
·9· · · · ·GAMMON & GRANGE, PC                                  ·9· · · · · · ·physically present in the deposition room and
· · · · · · · ·Attorneys for Defendant
                                                                10· · · · · · ·that I will be reporting this deposition
10· · · · · · ·1945 Old Gallows Road
· · · · · · · ·Tysons, Virginia 22182                           11· · · · · · ·remotely.
11                                                              12· · · · · · · · · ·They further acknowledge that, in lieu of
· · · · · ·BY: SCOTT J. WARD, ESQ.
12· · · · · · ·sjw@gg-law.com
                                                                13· · · · · · ·an oath administered in person, I will
· · · · · · · ·J. MATTHEW SZYMANSKI, ESQ.                       14· · · · · · ·administer the oath remotely under penalty of
13· · · · · · ·jms@gg-law.com                                   15· · · · · · ·perjury.
14
15
                                                                16· · · · · · · · · ·The parties and their counsel consent to
16                                                              17· · · · · · ·this arrangement and waive any objections to
· · · · A L S O· ·P R E S E N T:                                18· · · · · · ·this manner of reporting.
17
· · · · · ·STEVE McFARLAND, Chief Legal Officer for             19· · · · · · · · · ·Please indicate your agreement by stating
18· · · · · · ·World Vision Incorporated                        20· · · · · · ·your name and your agreement on the record;
19
                                                                21· · · · · · ·counsels only, please.
20
21                                                              22· · · · · · · · · ·MR. WOLNOWSKI:· Yes, Teri.
22                                                              23· · · · · · · · · ·MR. WARD:· My name is Scott Ward, and
23
                                                                24· · · · · · ·yes, I agree.
24
25                                                              25· · · · · · · · · ·(Identification of witness verified)

                                                       Page 3                                                         Page 5
·1                                                              ·1· · · · · · · · · · · · · · M. Freiberg
·2                                                              ·2· · · M E L A N I E· ·F R E I B E R G, a nonparty witness
· · · · · · · · · · IT IS HEREBY STIPULATED AND AGREED
                                                                ·3· · · herein, after having first been duly sworn by a
·3· · · by and between the parties hereto, through their
                                                                ·4· · · Notary Public of the State of New York, upon being
·4· · · respective counsel, that the certification, sealing,
                                                                ·5· · · examined, testified as follows:
·5· · · and filing of the within examination will be, and the
                                                                ·6· · · BY THE REPORTER:
·6· · · same are hereby waived;
                                                                ·7· · · · · · ·Q· · ·Please state your name for the record.
·7
                                                                ·8· · · · · · ·A· · ·Melanie Freiberg.
·8· · · · · · · · · IT IS FURTHER STIPULATED AND AGREED that
                                                                ·9· · · · · · ·Q· · ·And your address for the record?
·9· · · all objections, except as to the form of the
                                                                10· · · · · · ·A· · ·12955 Southeast 288th Place in Auburn,
10· · · question, will be reserved to the time of the trial;
                                                                11· · · Washington, ZIP code 98092.
11
12· · · · · · · · · IT IS FURTHER STIPULATED AND AGREED that
                                                                12· · · EXAMINATION BY MR. WOLNOWSKI:
13· · · the within examination may be signed before any
                                                                13· · · · · · ·Q· · ·Good afternoon, Ms. Freiberg.· My name is
14· · · Notary Public with the same force and effect as if
                                                                14· · · Casey Wolnowski.· Let me go over some of the ground
15· · · signed and sworn to before this Court.                  15· · · rules.· I represent the plaintiff, Aubry McMahon,
16                                                              16· · · with respect to her lawsuit against World Vision
17                                                              17· · · Incorporated.
18                                                              18· · · · · · · · · ·You are not personally a defendant in
19                                                              19· · · this lawsuit; do you understand that?
20                                                              20· · · · · · ·A· · ·Yes, I do.
21                                                              21· · · · · · ·Q· · ·I'm going to ask you a series of
22                                                              22· · · questions concerning the circumstances surrounding
23                                                              23· · · Ms. McMahon seeking employment with World Vision.· My
24                                                              24· · · goal today is not to confuse you.· If you do not
25                                                              25· · · understand a question that I ask you, please tell me


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · that you do not understand, or ask me to rephrase the    ·2· · · reporter; thus, are you aware that you are under oath
·3· · · question and I will do my best to do that.               ·3· · · today?
·4· · · · · · · · · ·In other words, unless you tell me, I'll    ·4· · · · · · ·A· · ·I understand that.
·5· · · assume that by you answering the question, you had no    ·5· · · · · · ·Q· · ·Do you understand that the oath you took
·6· · · problem understanding the question; is that okay?        ·6· · · today is the same oath you would take as if this were
·7· · · · · · ·A· · ·I understand.                               ·7· · · a trial before a judge?
·8· · · · · · ·Q· · ·If you'd like to take a break, we can do    ·8· · · · · · ·A· · ·Yes, I do.
·9· · · that; however, all that I ask is that if there is a      ·9· · · · · · ·Q· · ·Do you understand that with the oath you
10· · · pending question, please answer before we take a         10· · · just took, you agreed to tell truth, the whole truth,
11· · · break.                                                   11· · · and nothing but the truth?
12· · · · · · · · · ·Do you understand?                          12· · · · · · ·A· · ·Yes, I understand.
13· · · · · · ·A· · ·I understand.                               13· · · · · · ·Q· · ·The questions that I'm about to ask you
14· · · · · · ·Q· · ·Please verbalize your answers.· Shaking     14· · · are routine that I ask every person before I depose
15· · · of head or answers such as "uh-huh" may not              15· · · them.
16· · · necessarily be clear for the court reporter who is       16· · · · · · · · · ·Are you under the influence of drugs or
17· · · typing down your answers today.                          17· · · alcohol today?
18· · · · · · · · · ·Also, please wait until I finish my         18· · · · · · ·A· · ·I am not.
19· · · question before you answer.· Not only will that make     19· · · · · · ·Q· · ·Are you under the influence of any
20· · · for the creation of a cleaner record, it will also       20· · · medication which may impair your ability to
21· · · make the court reporter's life easier today.             21· · · understand my questions or to tell the truth?
22· · · · · · · · · ·Is that okay?                               22· · · · · · ·A· · ·I am not.
23· · · · · · ·A· · ·Yes.                                        23· · · · · · ·Q· · ·Can you think of any reason why you
24· · · · · · ·Q· · ·Given we are conducting this deposition     24· · · cannot provide truthful testimony here today?
25· · · remotely via video, there are a few questions I would    25· · · · · · ·A· · ·I cannot.

                                                      Page 7                                                           Page 9
·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · like to ask.                                             ·2· · · · · · ·Q· · ·Has anybody told you not to give truthful
·3· · · · · · · · · ·Is there anyone else in the room aside      ·3· · · testimony here today?
·4· · · from your two attorneys, Mr. Ward and Mr. McFarland,     ·4· · · · · · ·A· · ·No.
·5· · · today?                                                   ·5· · · · · · ·Q· · ·Did you review any documents in
·6· · · · · · ·A· · ·There is not.                               ·6· · · preparation for today's deposition?
·7· · · · · · ·Q· · ·If anybody enters the room where you are    ·7· · · · · · ·A· · ·I did review my own documents.
·8· · · sitting during the deposition, I kindly ask that you     ·8· · · · · · ·Q· · ·Can you please tell me which documents
·9· · · please identify that person for me.                      ·9· · · you reviewed in preparation for today's deposition?
10· · · · · · · · · ·Do you have any papers or documents in      10· · · · · · ·A· · ·E-mails that I sent, and I also reviewed
11· · · front of you or anything viewable on the computer        11· · · documents that included correspondence that I had,
12· · · screen aside from this video platform?                   12· · · and I reviewed basic information like the job
13· · · · · · ·A· · ·I do not.                                   13· · · description, that sort of thing.
14· · · · · · ·Q· · ·If at any point that changes, please        14· · · · · · ·Q· · ·Anything else?
15· · · inform me what documents you have in front of you or     15· · · · · · ·A· · ·I don't think so, no.
16· · · what is on your screen.                                  16· · · · · · ·Q· · ·Did you listen to any audio recordings in
17· · · · · · · · · ·I also kindly ask that you not              17· · · preparation for today's deposition?
18· · · communicate with your attorney or any other              18· · · · · · ·A· · ·I did listen to an audio recording.
19· · · individual when testifying on the record, this           19· · · · · · ·Q· · ·Can you please tell me what the audio
20· · · include communication via text, e-mail, instant          20· · · recording was of?
21· · · messaging, GChat, WhatsApp, or any other electronic      21· · · · · · ·A· · ·It was an audio recording that was taken
22· · · chat function.                                           22· · · without my consent by Ms. McMahon that included a
23· · · · · · · · · ·Do you understand that?                     23· · · portion of the discussion that I had with her on
24· · · · · · ·A· · ·I do.                                       24· · · January 8th.
25· · · · · · ·Q· · ·You were previously sworn in by the court   25· · · · · · ·Q· · ·Did you speak with anyone aside from your


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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · attorney in preparation for today's deposition?         ·2· · · physically as opposed to working remotely?
·3· · · · · · ·A· · ·I did not.                                 ·3· · · · · · ·A· · ·Well, since the pandemic, I have been
·4· · · · · · ·Q· · ·Ms. Freiberg, have you ever been deposed   ·4· · · working primarily from home.
·5· · · before?                                                 ·5· · · · · · ·Q· · ·So is it fair to say that since in or
·6· · · · · · ·A· · ·I have not.                                ·6· · · around March of 2022, you have been working primarily
·7· · · · · · ·Q· · ·For whom are you currently employed?       ·7· · · remotely for World Vision Incorporated?
·8· · · · · · ·A· · ·I'm employed with World Vision.            ·8· · · · · · ·A· · ·Since the pandemic.· Is that when the
·9· · · · · · ·Q· · ·Ms. Freiberg, do you have bachelor's       ·9· · · pandemic started?· Was it -- when did the pandemic
10· · · degree?                                                 10· · · start; was it in March of --
11· · · · · · ·A· · ·I do.                                      11· · · · · · ·Q· · ·Well, we can di- -- we could probably
12· · · · · · ·Q· · ·From where?                                12· · · dispute when it occurred and what parts of the world,
13· · · · · · ·A· · ·From Concordia University in Montreal,     13· · · but I think generally speaking, it's generally
14· · · Canada.                                                 14· · · understood that it really hit the United States of
15· · · · · · ·Q· · ·When did you receive that degree?          15· · · America beginning March of 2020.
16· · · · · · ·A· · ·1989.                                      16· · · · · · ·A· · ·Yes.
17· · · · · · ·Q· · ·Do you have any degree beyond a            17· · · · · · ·Q· · ·Okay.
18· · · bachelor's degree?                                      18· · · · · · ·A· · ·Since --
19· · · · · · ·A· · ·I do not.                                  19· · · · · · ·Q· · ·So --
20· · · · · · ·Q· · ·When did you first start working for       20· · · · · · ·A· · ·Since that time, since March of 2020, I
21· · · World Vision?                                           21· · · have been working primarily from home.
22· · · · · · ·A· · ·In 2018.                                   22· · · · · · ·Q· · ·Ms. Freiberg, if you could, please
23· · · · · · ·Q· · ·What was your position with World Vision   23· · · explain to me what were the primary duties and
24· · · when you first started working for them in 2018?        24· · · responsibilities of a person holding the title of
25· · · · · · ·A· · ·My position in 2018 was HR director,       25· · · HR director of talent management for World Vision as

                                                     Page 11                                                         Page 13
·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · talent management.                                      ·2· · · of January of 2021.
·3· · · · · · ·Q· · ·Did you have any position beyond that      ·3· · · · · · ·A· · ·The primary functions of my role in 2021
·4· · · after 2018?                                             ·4· · · are that I have responsibility over two teams; the
·5· · · · · · ·A· · ·My current title is senior director --     ·5· · · talent acquisition team and the HR business partners.
·6· · · senior HR director, talent management.                  ·6· · · · · · ·Q· · ·If you could, please explain to me the
·7· · · · · · ·Q· · ·And when did you assume that role,         ·7· · · responsibilities over the talent acquisition team as
·8· · · Ms. Freiberg?                                           ·8· · · it existed in January of 2021, from your
·9· · · · · · ·A· · ·I -- last year in 2022.                    ·9· · · recollection.
10· · · · · · ·Q· · ·Aside from HR director, talent             10· · · · · · ·A· · ·The talent acquisition team are
11· · · management, and senior director of talent management,   11· · · responsible to work with hiring managers to fill open
12· · · have you held any other positions with World Vision?    12· · · positions; they post roles, they source applicants,
13· · · · · · ·A· · ·I have not.                                13· · · they screen candidates, coordinate interviews, and
14· · · · · · ·Q· · ·Ms. Freiberg, what was your job title      14· · · present offers to candidates.
15· · · with World Vision in 2021?                              15· · · · · · ·Q· · ·What you just described, were those more
16· · · · · · ·A· · ·It was HR director, talent management.     16· · · or less your core functions with respect to the
17· · · · · · ·Q· · ·In January of 2021, where was the office   17· · · talent acquisition team as part of the role of
18· · · physically located from which you primarily worked?     18· · · HR director, talent management in January of 2021 for
19· · · · · · ·A· · ·It's located in Federal Way, Washington.   19· · · World Vision Incorporated?
20· · · · · · ·Q· · ·Is that the same office out of which you   20· · · · · · · · · ·MR. WARD:· I'm going to object as to form
21· · · primarily work as of today, February 16th, 2023?        21· · · · · · ·and in a -- just -- sorry, I didn't catch it
22· · · · · · ·A· · ·I primarily work remotely at home since    22· · · · · · ·all.· I'm going to object to the form.
23· · · the pandemic.                                           23· · · · · · · · · ·What month did you say?
24· · · · · · ·Q· · ·Ms. Freiberg, in the month of January of   24· · · · · · · · · ·MR. WOLNOWSKI:· January of 2021.
25· · · 2021, how frequently did you work in the office         25· · · · · · · · · ·MR. WARD:· Okay.· Thank you.


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·A· · ·My core responsibilities were to oversee    ·2· · · Aubry Atwood?
·3· · · the team that performed those functions.                 ·3· · · · · · ·A· · ·Yes, I am.
·4· · · · · · ·Q· · ·Ms. Freiberg, from your knowledge,          ·4· · · · · · ·Q· · ·Now, Ms. Freiberg, going forward, I'm
·5· · · experience, and observations, have those changed at      ·5· · · going to represent to you that Aubry McMahon and
·6· · · all between January of 2021 and today?                   ·6· · · Aubry Atwood are the same person, and I will refer to
·7· · · · · · ·A· · ·They have not changed.                      ·7· · · her going forward as Aubry McMahon, or simply Aubry,
·8· · · · · · ·Q· · ·At any point during your employment with    ·8· · · or Ms. McMahon.
·9· · · World Vision Incorporated, have you received training    ·9· · · · · · · · · ·Do you understand that?
10· · · regarding discrimination in the workplace?               10· · · · · · ·A· · ·I do.
11· · · · · · ·A· · ·Not specific training regarding             11· · · · · · ·Q· · ·I'm sorry, I didn't hear your answer.
12· · · discrimination in the workplace.                         12· · · · · · ·A· · ·I do understand that.
13· · · · · · ·Q· · ·Have you received any training regarding    13· · · · · · ·Q· · ·Was Aubry McMahon an applicant for
14· · · discrimination in the workplace?                         14· · · employment with World Vision Incorporated?
15· · · · · · ·A· · ·Is your question again tied to January of   15· · · · · · ·A· · ·Yes.
16· · · 2021?                                                    16· · · · · · ·Q· · ·Do you recall the position with World
17· · · · · · ·Q· · ·At any point during your employment with    17· · · Vision Incorporated for which she applied?
18· · · World Vision Incorporated.                               18· · · · · · ·A· · ·Yes.· She applied for a position that is
19· · · · · · ·A· · ·I have received on-boarding in              19· · · internally referenced -- the acronym is DSRT, and it
20· · · conjunction with my role to help me perform my role,     20· · · stands for donor services representative trainee.
21· · · which includes legal as well as, you know, employment    21· · · · · · ·Q· · ·Before we dive into talking about
22· · · policies in support of performing my role.               22· · · Ms. McMahon and her seeking employment with World
23· · · · · · ·Q· · ·Did any of the on-boarding you received     23· · · Vision Incorporated, I'd first like to speak
24· · · include preventing discrimination in the workplace?      24· · · generally about the position of DSRT as you have
25· · · · · · ·A· · ·The -- the -- the on-boarding that I        25· · · described it; is that okay with you?

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · received was tied to being a religious employer.· So     ·2· · · · · · ·A· · ·Yes.
·3· · · I learned, you know, World Vision rights as a result     ·3· · · · · · ·Q· · ·I'm going to show you what will be marked
·4· · · of being a religious employer.                           ·4· · · as Plaintiff's Exhibit Number 1.· It is a document
·5· · · · · · ·Q· · ·And if you could, please explain to me      ·5· · · which is Bates-stamped WV 48 through 50.
·6· · · what that included.                                      ·6· · · · · · · · · ·(WHEREUPON, the above-referred-to
·7· · · · · · ·A· · ·Well, as a religious organization, we are   ·7· · · · · · ·document, Bates-stamped WV-000048 through
·8· · · able to require religious beliefs that align with        ·8· · · · · · ·WV-000050, was marked as Plaintiff's
·9· · · World Vision's religious beliefs, and also to have       ·9· · · · · · ·Exhibit 1, for identification, as of this
10· · · certain expectations around conduct -- employee          10· · · · · · ·date, and displayed by the court reporter.)
11· · · conduct that support those religious beliefs.            11· · · · · · ·Q· · ·Ms. Freiberg, please review this document
12· · · · · · ·Q· · ·When did that training take place as part   12· · · and let me know once you've completed doing so.
13· · · of the on-boarding process, as you've mentioned?· And    13· · · · · · ·A· · ·Okay.· Can I review it on a screen,
14· · · by that, I mean, a month and a year or a season and a    14· · · please?
15· · · year, to the best of your recollection.                  15· · · · · · · · · ·MR. WARD:· Let me -- if it's all right,
16· · · · · · ·A· · ·Well, on-boarding typically happens at      16· · · · · · ·Counsel, let me see if I can show it on a
17· · · the onset of employment.· I started with World Vision    17· · · · · · ·second screen and put that in front of the
18· · · in May of 2018, and the bulk of the on-boarding          18· · · · · · ·witness.
19· · · happened over the course of the first 60 to 90 days.     19· · · · · · · · · ·Give me just one second here.
20· · · And over the course of time, there is further            20· · · · · · · · · ·(WHEREUPON, the witness was given the
21· · · learning that happens from being on the job that may     21· · · · · · ·opportunity to review the entirety of the
22· · · not be a particular training class or program, but       22· · · · · · ·document.)
23· · · it's just other learning.                                23· · · · · · · · · ·(Time noted:· 2:29 p.m.)
24· · · · · · ·Q· · ·Are you familiar with a person by the       24· · · · · · ·Q· · ·Have you had a chance to review this
25· · · name of Aubry McMahon, or perhaps you know her as        25· · · document?


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·A· · ·I have.                                     ·2· · · customer service representative to "be sensitive to
·3· · · · · · ·Q· · ·Do you recognize this document?             ·3· · · donor's needs and pray with them when appropriate,"
·4· · · · · · ·A· · ·I do.                                       ·4· · · as well as "perform other duties assigned"?
·5· · · · · · ·Q· · ·Have you ever seen it before?               ·5· · · · · · ·A· · ·Yes.
·6· · · · · · ·A· · ·Yes, I believe so.                          ·6· · · · · · ·Q· · ·If you could, please explain to me what
·7· · · · · · ·Q· · ·What is it?                                 ·7· · · was contemplated with respect to number 12, which is
·8· · · · · · ·A· · ·It's a job posting.                         ·8· · · "perform other duties as assigned."
·9· · · · · · ·Q· · ·Was this a job posting for the position     ·9· · · · · · ·A· · ·I believe that would be a better question
10· · · of customer service representative with World Vision     10· · · for somebody who works in that donor contact services
11· · · Incorporated?                                            11· · · organization.· I would not be able to provide
12· · · · · · ·A· · ·It was.                                     12· · · specifics.
13· · · · · · ·Q· · ·Is this the position for which Aubry        13· · · · · · ·Q· · ·Okay.· So, Ms. Freiberg, as you sit here
14· · · McMahon applied with World Vision Incorporated?          14· · · today, you don't know what the "other duties as
15· · · · · · ·A· · ·Can you -- could I ask the court reporter   15· · · assigned" entails; is that correct?
16· · · to just scroll up a little bit further to the -- to      16· · · · · · ·A· · ·That's correct.· I could speculate, but I
17· · · looking at the specific dates up top?                    17· · · don't know for certain.
18· · · · · · · · · ·THE REPORTER:· (Complying)                  18· · · · · · ·Q· · ·Well, I prefer you not to speculate.
19· · · · · · ·A· · ·Well, what this record shows is that        19· · · I -- it's one of those questions where you either
20· · · it -- it has a start date of February 1st, it just       20· · · know or you don't.· And if you don't know, that's
21· · · doesn't have a year on it as the -- to show the start    21· · · okay; but if you don't know, please tell me you don't
22· · · date because we wouldn't normally put that in a          22· · · know.
23· · · posting.· So I -- I believe that this would be the       23· · · · · · ·A· · ·No.· I don't know what those other duties
24· · · posting that was used for Ms. McMahon, I'm just not      24· · · are.
25· · · able to -- it doesn't show the specific date and year    25· · · · · · ·Q· · ·Ms. Freiberg, in January of 2021, was it

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · or the start date for this position.                     ·2· · · contemplated that an employee in the position of
·3· · · · · · ·Q· · ·If you can explain to me, exactly what      ·3· · · customer service representative would lead a
·4· · · were the core functions and responsibilities of a        ·4· · · congregation or be expected to regularly conduct
·5· · · customer service representative in January of 2021?      ·5· · · religious services as part of his or her job
·6· · · · · · ·A· · ·Well, this -- this position is, you know,   ·6· · · responsibilities for World Vision Incorporated?
·7· · · the voice of World Vision, so this position is           ·7· · · · · · · · · ·MR. WARD:· I'm going to object to the
·8· · · responsible to speak with donors and to be able to       ·8· · · · · · ·question.· It's vague and ambiguous.· It's
·9· · · represent World Vision to those donors.· This person     ·9· · · · · · ·also calling for a legal conclusion in some
10· · · must understand, as it describes in the document, who    10· · · · · · ·sense.
11· · · we are as an organization.· The individual must be       11· · · · · · · · · ·You may answer to the extent you
12· · · able to understand our vision, our mission, our          12· · · · · · ·understand it.
13· · · strategies, our work, and must be able to pray with      13· · · · · · ·A· · ·Can you help me understand what you mean
14· · · donors, must be able to be a witness to Jesus in how     14· · · by "lead a congregation"?
15· · · they perform their call center position.                 15· · · · · · ·Q· · ·Do you understand what it means to lead a
16· · · · · · ·Q· · ·Ms. Freiberg, I'd like to direct your       16· · · congregation?
17· · · attention to page -- the second page, which is WV 49.    17· · · · · · ·A· · ·Not in the context of this job.
18· · · · · · · · · ·MR. WOLNOWSKI:· If you could -- Teri, if    18· · · · · · ·Q· · ·One moment.
19· · · · · · ·you could just please scroll down just a bit.     19· · · · · · · · · ·So I will define "lead" as it's defined
20· · · · · · · · · ·THE REPORTER:· (Complying)                  20· · · by Merriam-Webster as "to guide on a way especially
21· · · · · · ·Q· · ·Ms. Freiberg, I'd like to direct your       21· · · by going in advance or to direct on a course or in a
22· · · attention to numbers 11 and 12.                          22· · · direction or to serve as a channel for."
23· · · · · · · · · ·Can you see those?                          23· · · · · · · · · ·And I will define for you "congregation"
24· · · · · · ·A· · ·Yes.                                        24· · · per Merriam-Webster as "an assembly of persons or a
25· · · · · · ·Q· · ·Were two of the core functions of a         25· · · religion community."


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·Does that help you in guiding your          ·2· · · · · · ·question; vague and ambiguous, compound and
·3· · · answer?                                                  ·3· · · · · · ·complex, and to the extent it calls for a
·4· · · · · · · · · ·MR. WARD:· Go ahead, you may answer.        ·4· · · · · · ·legal conclusion.
·5· · · · · · ·A· · ·Well, this role doesn't lead a              ·5· · · · · · · · · ·And, Counsel, there -- it might be
·6· · · congregation.· The closest kind of responsibility        ·6· · · · · · ·something where we should talk briefly without
·7· · · that would meet this definition is that a member of      ·7· · · · · · ·the witness present, because I want to make
·8· · · the donor contact services group may lead devotions      ·8· · · · · · ·sure -- part of what you're asking, I think,
·9· · · for their team, they may be part in leading a chapel     ·9· · · · · · ·is legitimate, but there's part of it that I
10· · · in our work, they may lead a donor in prayer.            10· · · · · · ·want to clarify, and I want to do that in a
11· · · · · · ·Q· · ·Now, you used the word "may."               11· · · · · · ·way that doesn't get in the way of your
12· · · · · · · · · ·Is it something that is obligatory as       12· · · · · · ·appropriate questioning.· So I don't know, if
13· · · part of the job, to lead devotions, to lead chapels,     13· · · · · · ·you -- if you want to keep going, I can keep
14· · · or lead donors in prayer?                                14· · · · · · ·objecting, we can keep going forward; but if
15· · · · · · ·A· · ·The devotions are an expectation to         15· · · · · · ·it's helpful to talk outside the presence of
16· · · participate in devotions.· At World Vision, teams        16· · · · · · ·the witness, I'm happy to do that as well.
17· · · decide how those devotions are lead, whether those       17· · · · · · · · · ·MR. WOLNOWSKI:· That's fine.
18· · · devotions are shared among team members or -- you        18· · · · · · · · · ·I would -- first, if you can please
19· · · know, so the actual execution may vary across teams.     19· · · · · · ·answer the question.
20· · · In terms of expectation to lead chapel, it is an         20· · · · · · · · · ·We can speak on a break, if you'd like.
21· · · expectation to attend chapel, but leading a chapel is    21· · · · · · ·But again, I spoke about this with your
22· · · not -- it, you know, occurs, you know, based on          22· · · · · · ·colleague before the deposition about speaking
23· · · interest and desire to lead.· And in DCS, each year      23· · · · · · ·objections.
24· · · since I've joined at World Vision, there has been a      24· · · · · · · · · ·Again, the rules are very clear that
25· · · devo- -- or, sorry, a chapel led by DCS and --           25· · · · · · ·they're limited in terms of objecting and

                                                     Page 23                                                          Page 25
·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·Now, Ms. Freiberg, I -- I want you to       ·2· · · · · · ·speaking objections.· I kind of ask that we
·3· · · finish here, but just so we're clear, what does "DCS"    ·3· · · · · · ·could all just adhere to those rules.
·4· · · stand for?                                               ·4· · · · · · · · · ·Ms. Freiberg, if you understand the
·5· · · · · · ·A· · ·The donor contact services.· So that is     ·5· · · · · · ·question, if you could please answer it.
·6· · · the name of this team.                                   ·6· · · · · · · · · ·Teri, it might be easier for you to read
·7· · · · · · ·Q· · ·Understood.                                 ·7· · · · · · ·it back.
·8· · · · · · · · · ·Please continue.                            ·8· · · · · · · · · ·(WHEREUPON, the previous question was
·9· · · · · · ·A· · ·So I believe I was saying that in the       ·9· · · · · · ·read by the court reporter.)
10· · · time that I have been at World Vision, each year         10· · · · · · ·A· · ·Okay.
11· · · there is a chapel led by that team -- by DCS, and so     11· · · · · · · · · ·MR. WARD:· And I renew the same
12· · · it's possible that a -- a team member may take part      12· · · · · · ·objections.
13· · · in leading that or in organizing that chapel.· And --    13· · · · · · · · · ·You may answer.
14· · · yeah, so that -- that would be the example around        14· · · · · · ·A· · ·Okay.· What -- what is a requirement of
15· · · chapel.                                                  15· · · the role is to be able to lead prayer with donors on
16· · · · · · ·Q· · ·But would it be obligatory and -- in        16· · · call with them.· To lead a devotion or to lead a
17· · · other words, if someone said, "I either can't or         17· · · chapel would not be a required expectation, but it
18· · · won't do that," would that be a disqualifier for         18· · · would be welcomed.· On -- on the devotions, each --
19· · · work?· And when I say "disqualifier," I mean, would      19· · · because each team manages that in their own unique
20· · · they be -- not be able to work because they are          20· · · way, I can't speak for what the expectation is at DCS
21· · · either unable or refusing to lead as opposed to just     21· · · for leading devotions.· In my department, as an
22· · · be --                                                    22· · · example, in human resources, each person leads
23· · · · · · · · · ·MR. WARD:· Let me --                        23· · · devotions and we rotate it around, and it's a -- just
24· · · · · · ·Q· · ·-- as opposed to merely be a participant?   24· · · an expectation.
25· · · · · · · · · ·MR. WARD:· I'm going to object to the       25· · · · · · ·Q· · ·So just to be clear, Ms. Freiberg, you


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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · previously testified, if I understand, that customer    ·2· · · I -- I don't know.
·3· · · service representatives may lead donors in prayer; is   ·3· · · · · · ·Q· · ·In January of 2021, did a person employed
·4· · · that correct?                                           ·4· · · in the position of customer service representative
·5· · · · · · ·A· · ·And when I said "may," I meant that not    ·5· · · with World Vision Incorporated require a significant
·6· · · every donor call may require prayer.· So it would be    ·6· · · degree of religious training followed by a formal
·7· · · at the opportune time, but the expectation to pray      ·7· · · process of commissioning?
·8· · · is -- is an expectation, because that's part of who     ·8· · · · · · · · · ·MR. WARD:· I'm going to object to that to
·9· · · we are.                                                 ·9· · · · · · ·the extent it calls for a legal conclusion.
10· · · · · · ·Q· · ·And is it an expectation that the          10· · · · · · ·A· · ·Can you define "significant religious
11· · · customer service representative will initiate prayer?   11· · · training"?
12· · · · · · ·A· · ·I don't know enough about that.            12· · · · · · ·Q· · ·Well, sure.
13· · · · · · ·Q· · ·Is it an expectation that the customer     13· · · · · · · · · ·So according to Merriam-Webster,
14· · · service representative would lead prayer?               14· · · having -- "significant" is defined as "having meaning
15· · · · · · · · · ·MR. WARD:· I'm going to object as vague    15· · · or having or likely to have influence or effect."
16· · · · · · ·and ambiguous.                                   16· · · · · · · · · ·According to Merriam-Webster dictionary,
17· · · · · · · · · ·But you may answer.                        17· · · the word "religious" is defined as "relating to or
18· · · · · · ·A· · ·Well, I -- I think I'm not really          18· · · manifesting faithful devotion to an acknowledged
19· · · understanding the distinction.· The expectation is      19· · · ultimate reality or deity."
20· · · that the donor contact services representative would    20· · · · · · · · · ·And according to Merriam-Webster
21· · · pray either with or for or on behalf of the donor,      21· · · dictionary, the word "training" is defined as "the
22· · · which then means that they may be leading it, or they   22· · · act, process, or method of one that trains or the
23· · · may be a participant in the prayer, or they may even    23· · · skill, knowledge, or experience required by one that
24· · · be a recipient of the prayer.                           24· · · trains."
25· · · · · · ·Q· · ·With respect to this number 11 where it    25· · · · · · · · · ·MR. WARD:· I'm going to renew the same

                                                     Page 27                                                         Page 29
·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · states, "Be sensitive to donor's needs and pray with    ·2· · · · · · ·objections, obviously.
·3· · · them when appropriate," to your knowledge, did          ·3· · · · · · ·A· · ·It -- I think what I can say is that
·4· · · customer service representatives, at least in           ·4· · · what's needed for the role is what's described in the
·5· · · January of 2021, did they receive training on when to   ·5· · · position as the requirements.
·6· · · determine when it was appropriate to engage in prayer   ·6· · · · · · ·Q· · ·Well, what I can say is that, in my view
·7· · · with respect to speaking to a donor?                    ·7· · · of this, that the posting with respect to customer
·8· · · · · · ·A· · ·I'm not familiar with the details of the   ·8· · · service representatives as exhibited in Plaintiff's
·9· · · training program.                                       ·9· · · Exhibit 1, it does not state that there is a
10· · · · · · ·Q· · ·So your answer is, in essence, you don't   10· · · requirement of significant religious training
11· · · know?                                                   11· · · followed by a formal process of commissioning.
12· · · · · · ·A· · ·Yes.· I cannot speak to the details        12· · · · · · · · · ·Would you agree with my conclusion?
13· · · and -- I cannot speak to the detail of what the         13· · · · · · · · · ·MR. WARD:· So I'm going to object to the
14· · · training entails.                                       14· · · · · · ·extent it calls for a legal conclusion to the
15· · · · · · ·Q· · ·Do you know if there is any written        15· · · · · · ·extent it's seeking an opinion without
16· · · materials, whether it be a guidebook, instruction       16· · · · · · ·establishing a foundation, and to the extent
17· · · manual, training manual, that would outline these or    17· · · · · · ·that it's calling for speculation.
18· · · that would contain guidance as to this?                 18· · · · · · · · · ·Other than that, you can answer.
19· · · · · · · · · ·MR. WARD:· Objection as to form; vague     19· · · · · · ·A· · ·I'm not sure how to answer that question.
20· · · · · · ·and ambiguous.                                   20· · · · · · ·Q· · ·Well, I asked you for your personal
21· · · · · · · · · ·You may answer.                            21· · · opinion.
22· · · · · · ·A· · ·I have not seen that myself in my role.    22· · · · · · · · · ·MR. WARD:· Same objections, obviously.
23· · · · · · ·Q· · ·Do you know whether or not one exists?     23· · · · · · ·A· · ·I agree that it does not require any sort
24· · · · · · ·A· · ·I know that there is an extensive          24· · · of religious training or certification, which I think
25· · · training program, but as to the documentation of it,    25· · · was part of your question.


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·Does it require any kind of formal          ·2· · · ministering to others through life, deed, word, and
·3· · · process of commissioning?                                ·3· · · sign," that would be how I would describe it to be an
·4· · · · · · · · · ·MR. WARD:· I'm going to object to that as   ·4· · · elegies to ministry.
·5· · · · · · ·vague and ambiguous, and to the extent it         ·5· · · · · · ·Q· · ·So is your answer yes --
·6· · · · · · ·calls for a legal conclusion.                     ·6· · · · · · ·A· · ·Yeah.
·7· · · · · · ·Q· · ·You can answer the question if you          ·7· · · · · · ·Q· · ·-- that a person -- a customer service
·8· · · understand it, Ms. Freiberg.                             ·8· · · representative employed by World Vision Incorporated
·9· · · · · · ·A· · ·I -- I don't think I understand the term    ·9· · · in January of 2021 had functions similar to those of
10· · · "commissioning" in the context of the employment of a    10· · · a minister?
11· · · donor contact services representative.                   11· · · · · · · · · ·MR. WARD:· I'll renew the same
12· · · · · · ·Q· · ·According to Merriam-Webster's              12· · · · · · ·objections.
13· · · dictionary, "commissioning" is a noun related to the     13· · · · · · · · · ·Subject to that, you may answer.
14· · · word "commission," which is "a formal written warrant    14· · · · · · ·A· · ·I would say yes, that there are
15· · · granting to perform various acts or duties."             15· · · similarities in that way.
16· · · · · · ·A· · ·Well, the -- you know, the -- the closest   16· · · · · · ·Q· · ·Was it a requirement of the job of
17· · · I can answer your question is that, at the end of the    17· · · customer service representative for World Vision
18· · · 11-week training, a person is -- either passes the       18· · · Incorporated in January of 2021 to proclaim the
19· · · training or they don't pass the training, and then       19· · · gospel of Jesus Christ?
20· · · they may perform the full essential functions of the     20· · · · · · ·A· · ·Yes.
21· · · role.                                                    21· · · · · · ·Q· · ·Was it a mandatory duty of a person in
22· · · · · · ·Q· · ·Does that training period include           22· · · the position of customer service representative for
23· · · religious training?                                      23· · · World Vision Incorporated in January of 2021 to
24· · · · · · ·A· · ·I don't know the details of the training.   24· · · administer the sacraments?
25· · · · · · ·Q· · ·Ms. Freiberg, in January of 2021, did a     25· · · · · · · · · ·MR. WARD:· I'm going to object as vague

                                                     Page 31                                                          Page 33
·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · person employed in the position of customer service      ·2· · · · · · ·and ambiguous, and including lack of
·3· · · representative for World Vision Incorporated have        ·3· · · · · · ·foundation.
·4· · · functions similar to those of a minister?                ·4· · · · · · · · · ·Other than that, you may answer.
·5· · · · · · · · · ·MR. WARD:· I'm going to object to the       ·5· · · · · · ·A· · ·Can you define that term?
·6· · · · · · ·question as vague and ambiguous, as assuming      ·6· · · · · · ·Q· · ·Sure.
·7· · · · · · ·facts not in evidence, and to the extent it       ·7· · · · · · · · · ·The word "administer," I'll define it
·8· · · · · · ·calls for a legal conclusion or opinion.          ·8· · · pursuant to Merriam-Webster dictionary, "to manage or
·9· · · · · · · · · ·Subject to that, you may answer.            ·9· · · supervise the execution, use, or conduct of."
10· · · · · · ·A· · ·Well, again, I would say that this          10· · · · · · · · · ·With respect to the word "sacraments,"
11· · · position in how it's described --                        11· · · according to Merriam-Webster's dictionary, it is
12· · · · · · · · · ·If -- if you could scroll up a little       12· · · defined as "a Christian right, such as baptism or the
13· · · bit, Teri.                                               13· · · Eucharist that is believed to have been ordained by
14· · · · · · · · · ·THE REPORTER:· (Complying)                  14· · · Christ and that is held to be a means of defined
15· · · · · · ·A· · ·Sorry.· So number 1 that says, "Keep        15· · · grace or to be a sign or symbol of a spiritual
16· · · Christ central in our individual and corporate           16· · · reality."
17· · · lives."· So I guess I'd just call that out as similar    17· · · · · · ·A· · ·They're very difficult questions to
18· · · to what you might experience in a church.                18· · · answer.
19· · · · · · · · · ·And, also, if you could scroll up a         19· · · · · · · · · ·What I would say is that the role of the
20· · · little bit more, Teri.                                   20· · · DCS agent is to be a witness to Jesus Christ and
21· · · · · · · · · ·THE REPORTER:· (Complying)                  21· · · to -- you know, I know we've just read this, but to
22· · · · · · ·A· · ·The -- the kind of last sentence that       22· · · do this through life, deed, word, and sign.· So that
23· · · says, "Help carry out our Christian organization's       23· · · means proclaiming who Jesus is, embracing the power
24· · · mission, vision, and strategies.· Personify the          24· · · of Jesus and the -- the healing nature of prayer
25· · · mission of World Vision by witnessing to Christ and      25· · · and -- and -- and our love for the poor.


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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·Was it an expectation that a customer      ·2· · · pay scale relative to other positions at World
·3· · · service representative employed by World Vision         ·3· · · Vision, but it is a very essential function -- a very
·4· · · Incorporated in January of 2021 would perform           ·4· · · essential role at World Vision because it is the
·5· · · baptisms?                                               ·5· · · voice of World Vision to the donors.· And I --
·6· · · · · · ·A· · ·No.                                        ·6· · · · · · ·Q· · ·When did you -- I'm sorry --
·7· · · · · · ·Q· · ·Was it an expectation that he or she       ·7· · · · · · ·A· · ·I was just --
·8· · · would administer communion?                             ·8· · · · · · ·Q· · ·-- go ahead.
·9· · · · · · ·A· · ·No.                                        ·9· · · · · · ·A· · ·I was just -- add one more piece to that,
10· · · · · · ·Q· · ·Could a customer service                   10· · · which is that, you know, the training program is
11· · · representative -- excuse me.· Question withdrawn.       11· · · 9-to-11-weeks long, which is a very long period of
12· · · · · · · · · ·Was there an expectation of -- that a      12· · · time for a position.· And so, you know, I just -- I
13· · · customer service representative of World Vision         13· · · add that just in terms of the depth, I think, that is
14· · · Incorporated could marry people in the Christian        14· · · required for people to be able to perform that role.
15· · · faith?                                                  15· · · · · · ·Q· · ·Anything else, Ms. Freiberg?
16· · · · · · · · · ·MR. WARD:· Object as -- object as vague    16· · · · · · ·A· · ·No.· Thank you.
17· · · · · · ·and ambiguous.                                   17· · · · · · ·Q· · ·When did you first learn about Aubry
18· · · · · · · · · ·You may answer.                            18· · · McMahon applying to work for World Vision
19· · · · · · ·A· · ·No.                                        19· · · Incorporated?
20· · · · · · ·Q· · ·In January of 2021, was -- was -- is it    20· · · · · · ·A· · ·I learned about her application on
21· · · expected of a person employed in the position of        21· · · January 5th.
22· · · customer service representative for World Vision        22· · · · · · ·Q· · ·At some point, did you learn that an
23· · · Incorporated to perform religious duties for the        23· · · offer of employment had been extended to Aubry
24· · · purpose of religious education or instruction?          24· · · McMahon to work for World Vision Incorporated in the
25· · · · · · · · · ·MR. WARD:· I'll object as vague and        25· · · position of customer service representative?

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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·ambiguous, and to the extent it calls for a      ·2· · · · · · ·A· · ·No, I did not know of that fact.
·3· · · · · · ·legal conclusion.                                ·3· · · · · · ·Q· · ·Ms. Freiberg, I'd like to show you what
·4· · · · · · · · · ·Subject to that, you may answer.           ·4· · · will be marked as Plaintiff's Exhibit Number 2.· It
·5· · · · · · ·A· · ·Can you repeat the substantive part of     ·5· · · is a document which bears Bates-stamp numbers WV 78
·6· · · the question, the expectation -- just can you           ·6· · · through 79.
·7· · · complete that last part of the sentence, please?        ·7· · · · · · · · · ·(WHEREUPON, the above-referred-to
·8· · · · · · · · · ·MR. WOLNOWSKI:· Ms. Ratigan, could you     ·8· · · · · · ·document, Bates-stamped WV-000078 through
·9· · · · · · ·read the question back when you have a moment?   ·9· · · · · · ·WV-000079, was marked as Plaintiff's
10· · · · · · · · · ·(WHEREUPON, the previous question was      10· · · · · · ·Exhibit 2, for identification, as of this
11· · · · · · ·read by the court reporter.)                     11· · · · · · ·date, displayed by the court reporter, and the
12· · · · · · · · · ·MR. WARD:· Renew the same objections.      12· · · · · · ·witness was given the opportunity to review
13· · · · · · ·A· · ·So there was not -- there's not a          13· · · · · · ·the entirety of the document.)
14· · · requirement, but there is an encouragement to           14· · · · · · · · · ·(Time noted:· 3:05 p.m.)
15· · · participate in leading devotions and -- and chapel --   15· · · · · · ·Q· · ·Ms. Freiberg, have you had a chance to
16· · · and participating in chapel.· So that can include       16· · · review this document that I've provided to you and
17· · · being educated, but also in serving to educate others   17· · · which has been marked as Plaintiff's Exhibit
18· · · through sharing of the word and prayer and -- and       18· · · Number 2?
19· · · religious function in that per- -- in that sense.       19· · · · · · ·A· · ·Yes.
20· · · · · · ·Q· · ·Would you characterize the position of     20· · · · · · ·Q· · ·Do you recognize this document?
21· · · customer service representative as a relatively         21· · · · · · ·A· · ·I do.
22· · · low-level position in terms of World Vision's           22· · · · · · ·Q· · ·Have you ever seen it before?
23· · · employment hierarchy in January of 2021?                23· · · · · · ·A· · ·Yes.
24· · · · · · ·A· · ·I would describe it as a position that     24· · · · · · ·Q· · ·What is this document?
25· · · has -- like it has -- you know, it is lower on the      25· · · · · · ·A· · ·This is an offer letter.


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                                                     Page 38                                                         Page 40
·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·If you could please explain to me, what    ·2· · · document that was exchanged during the discovery
·3· · · is this offer letter meant to communicate?              ·3· · · phase of this case's litigation.
·4· · · · · · ·A· · ·It is meant to confirm our offer of        ·4· · · · · · · · · ·If you could, Ms. Freiberg, please take a
·5· · · employment and the associated details surrounding the   ·5· · · minute to review it and let me know once you've
·6· · · job, the pay, the start date, and a few other details   ·6· · · completed doing so.
·7· · · that are expectations and requirements for working at   ·7· · · · · · · · · ·(WHEREUPON, the above-referred-to
·8· · · World Vision.                                           ·8· · · · · · ·document, Bates-stamped WV-000080 was marked
·9· · · · · · ·Q· · ·It appears as though this letter was --    ·9· · · · · · ·as Plaintiff's Exhibit 3, for identification,
10· · · question withdrawn.                                     10· · · · · · ·as of this date, and displayed by the court
11· · · · · · · · · ·At the bottom of the first page, it        11· · · · · · ·reporter.)
12· · · appears as though the author or the sender of this      12· · · · · · · · · ·THE WITNESS:· I've read it.
13· · · letter is a woman by the name of Catherine Miolla;      13· · · · · · ·Q· · ·Okay.· Ms. Freiberg, do you recognize
14· · · would you agree, Ms. Freiberg?                          14· · · this document?
15· · · · · · ·A· · ·Yes, Catherine Miolla is -- was the        15· · · · · · ·A· · ·I do.
16· · · author of this letter.                                  16· · · · · · ·Q· · ·Have you ever seen it before?
17· · · · · · ·Q· · ·If you could, please explain to me as of   17· · · · · · ·A· · ·I have.
18· · · January 5th, 2021 what role Catherine Miolla had with   18· · · · · · ·Q· · ·When is it that you first saw it, from
19· · · World Vision Incorporated.                              19· · · your recollection?
20· · · · · · ·A· · ·Catherine's position is a talent           20· · · · · · ·A· · ·On January 5th.
21· · · acquisition partner, which is another word for          21· · · · · · ·Q· · ·Now, Ms. Freiberg, Plaintiff's Exhibit 3
22· · · recruiter.· So she was a recruiter assigned to this     22· · · is a document which shows an e-mail from Aubry
23· · · class of the DCS trainees that were hired in that       23· · · McMahon to Catherine Miolla on Tuesday, January 5th,
24· · · time period.                                            24· · · 2021 at 11:56 p.m.· The subject states, "Quick
25· · · · · · ·Q· · ·Was she part of the talent acquisition     25· · · Question," and the body of the e-mail reads -- and

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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · team that you oversaw in January of 2021?               ·2· · · I'm going to read this into the transcript.
·3· · · · · · ·A· · ·Yes.                                       ·3· · · · · · · · · ·"Hey there, I just have a quick question.
·4· · · · · · ·Q· · ·Was she your subordinate in January of     ·4· · · My wife and I are expecting our first baby in March
·5· · · 2021?                                                   ·5· · · and I wanted to see if I would qualify for any time
·6· · · · · · ·A· · ·Yes.                                       ·6· · · off for this since I'll be a new employee?· I will be
·7· · · · · · ·Q· · ·Were you her supervisor?                   ·7· · · the one having the baby, so I just wanted to check to
·8· · · · · · ·A· · ·Yes.                                       ·8· · · see if any time would be allowed off.· If not, no
·9· · · · · · ·Q· · ·Did you have the power to terminate her    ·9· · · worries.· Thanks so much.· Aubry."
10· · · employment if you had wished in January of 2021?        10· · · · · · · · · ·First and foremost, would you agree that
11· · · · · · ·A· · ·Within limits, but yes, I have hire/fire   11· · · this is an e-mail sent from Aubry McMahon to
12· · · responsibility in my role.                              12· · · Catherine Miolla on January 5th, 2021?
13· · · · · · ·Q· · ·To your knowledge and recollection,        13· · · · · · ·A· · ·Yes, I agree with that.
14· · · Ms. Freiberg, is it correct that an official offer of   14· · · · · · ·Q· · ·Please explain to me, to the extent that
15· · · employment had been made to Aubry McMahon to work for   15· · · you know, the duties and responsibilities of a talent
16· · · World Vision Incorporated as of January 5th, 2021 at    16· · · acquisition professional as that job existed with
17· · · the latest?                                             17· · · World Vision Incorporated in January of 2021.
18· · · · · · ·A· · ·Yes, I agree with that.                    18· · · · · · ·A· · ·The role of the talent acquisition
19· · · · · · ·Q· · ·Would you agree that this letter           19· · · partner in 2021 would be to work with hiring managers
20· · · constitutes an offer of employment for World Vision     20· · · on open positions to post, they would work through
21· · · Incorporated?                                           21· · · the posting process, they would source applicants as
22· · · · · · ·A· · ·Yes, it is an offer of employment.         22· · · needed, they would screen candidates and/or
23· · · · · · ·Q· · ·I will show you what will be marked as     23· · · candidates that would move to hiring manager
24· · · Plaintiff's Exhibit Number 3.· It's a document that     24· · · interviews, they would present those candidates and
25· · · is Bate-stamped WV 80, and represent that it is a       25· · · help facilitate and coordinate interviews and present


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                                                                                                                                 YVer1f
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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · offers and salaries to these prospective employees       ·2· · · that could be the case.
·3· · · to -- to these -- to the successful candidates.          ·3· · · · · · ·Q· · ·What likelihood would you -- if you
·4· · · · · · ·Q· · ·Would you agree that in this e-mail, it     ·4· · · recall, did you think that she was married in a
·5· · · could be reasonably discerned that Aubry McMahon was     ·5· · · same-sex marriage with a woman; would you say greater
·6· · · in a same-sex marriage with a woman?                     ·6· · · than 50 percent, less than 50 percent, something
·7· · · · · · ·A· · ·It was a question that we sought to         ·7· · · else?
·8· · · understand.                                              ·8· · · · · · · · · ·MR. WARD:· Objection as to form and to
·9· · · · · · ·Q· · ·So is your testimony here today that it     ·9· · · · · · ·the extent it calls for speculation.
10· · · was not -- it could not be reasonably discerned?         10· · · · · · · · · ·You may answer.
11· · · · · · ·A· · ·We sought to clarify whether that was       11· · · · · · ·A· · ·I'm not sure what percentage I would
12· · · true.                                                    12· · · allocate to it, but I -- we wanted to know whether
13· · · · · · ·Q· · ·When you first read this e-mail, was it     13· · · this was what she intended to express.
14· · · your first inclination to understand what Ms. McMahon    14· · · · · · ·Q· · ·So when I ask a question about what you
15· · · wrote as her being in a same-sex marriage with a         15· · · thought, I would ask that you kindly limit your
16· · · woman, given that Aubry was a woman and mentions in      16· · · response to what you thought, not "we," as in kind of
17· · · this e-mail that she has a wife?                         17· · · what a group was trying to do or was thinking.· I'm
18· · · · · · · · · ·MR. WARD:· I'm going to object as to form   18· · · asking you about your thoughts or opinions or views.
19· · · · · · ·and as vague and ambiguous, compound and          19· · · · · · ·A· · ·Okay.· I wanted to know whether she
20· · · · · · ·complex.                                          20· · · intended to write her wife or if that was an error.
21· · · · · · · · · ·You may answer.                             21· · · · · · ·Q· · ·Did you ever find out whether or not she
22· · · · · · ·A· · ·Our first inclination was to seek           22· · · indeed was in a same-sex marriage?
23· · · understanding, because in the phone screen that          23· · · · · · ·A· · ·I did.
24· · · Ms. Miolla conducted with Ms. McMahon, she responded     24· · · · · · ·Q· · ·And when did you find out?
25· · · in a way that was contrary to this e-mail, so we         25· · · · · · ·A· · ·On January 8th.

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · wanted to seek to understand whether this e-mail was     ·2· · · · · · ·Q· · ·And how is it you found out on
·3· · · correct.                                                 ·3· · · January the 8th?
·4· · · · · · ·Q· · ·But did you -- when reading this e-mail     ·4· · · · · · ·A· · ·Well, after we received -- after this
·5· · · for the first time, when you read it, did you believe    ·5· · · e-mail was received, Catherine sought to speak with
·6· · · that there was a likelihood that Aubry was in a          ·6· · · her multiple times.· And finally, on January 8th,
·7· · · same-sex marriage with a woman?                          ·7· · · Catherine and I spoke with Ms. McMahon, and she
·8· · · · · · ·A· · ·We sought to clarify that was true.· On     ·8· · · confirmed that she was in a same-sex marriage.
·9· · · face value, that's what that would say.                  ·9· · · · · · ·Q· · ·Ms. Freiberg, when you first read this
10· · · · · · ·Q· · ·I'm not asking what it would say to         10· · · e-mail that is marked as Plaintiff's Exhibit
11· · · somebody.· I'm asking what it said to you.               11· · · Number 3, did you discern that Aubry McMahon was
12· · · · · · · · · ·Is that how you read it?                    12· · · somebody who was LGBTQ?· And I will define LGBTQ as
13· · · · · · · · · ·MR. WARD:· Object as to form.               13· · · an acronym for lesbian, gay, bisexual, transgender,
14· · · · · · · · · ·You may answer.                             14· · · or queer, slash, questioning.
15· · · · · · ·A· · ·I think what I'm trying to say is that      15· · · · · · · · · ·MR. WARD:· So I'm going to object to form
16· · · this e-mail shows disconfirming information to the       16· · · · · · ·and as vague and ambiguous.
17· · · phone screen that we collected, so we wanted to reach    17· · · · · · · · · ·But you may answer.
18· · · her to understand what -- what was this telling us.      18· · · · · · ·A· · ·I was not looking to determine -- I was
19· · · · · · ·Q· · ·Okay.· I'm not sure that answers the        19· · · not looking to determine whether she identified as
20· · · question, but let me try to answer in a different        20· · · LGBTQ.· I was looking to confirm whether she could
21· · · way -- let me try to ask it a different way.             21· · · comply with our standards of conduct.
22· · · · · · · · · ·When you first read this e-mail, did you,   22· · · · · · ·Q· · ·Ms. Freiberg, when you first read this
23· · · Ms. Freiberg, think that Aubry McMahon was in a          23· · · e-mail which is marked as Plaintiff's Exhibit
24· · · same-sex marriage with a woman?                          24· · · Number 3, did you believe after having first read it
25· · · · · · ·A· · ·I thought that based off of this e-mail,    25· · · that Aubry may have been LGBTQ?


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·MR. WARD:· I'm going to object as to        ·2· · · · · · · · · ·Oh, and argumentative also.
·3· · · · · · ·form; vague and ambiguous to the extent --        ·3· · · · · · ·A· · ·I would say that what I was -- what --
·4· · · · · · · · · ·Otherwise, you can answer.                  ·4· · · what I considered was a possibility was that she was
·5· · · · · · ·A· · ·I -- I agree with the statement "may,"      ·5· · · not going to be able to comply with our standards of
·6· · · because that was -- the intent was to clarify whether    ·6· · · conduct.
·7· · · this was true or this was not true.                      ·7· · · · · · ·Q· · ·But when you -- in reading this for the
·8· · · · · · ·Q· · ·So in reading this e-mail for the first     ·8· · · first time, did you ever formulate a belief as to
·9· · · time, you believed that there was a possibility that     ·9· · · whether or not Aubry McMahon was LGBTQ?
10· · · Aubry McMahon was LGBTQ; is that correct?                10· · · · · · · · · ·MR. WARD:· I'm going to object as asked
11· · · · · · ·A· · ·I did not say that.· I -- I -- what I       11· · · · · · ·and answered and vague and ambiguous.
12· · · said was that I knew that she had responded in a way     12· · · · · · · · · ·You may answer.
13· · · that complied with our standards of conduct.· And        13· · · · · · ·A· · ·Well, I have to restate my answer, which
14· · · that if she was in a same-sex marriage, she would not    14· · · is that I was -- I -- I formed the belief that she
15· · · be able to comply with our stan- -- with our             15· · · may not be able to comply with our standards of
16· · · standards of conduct.· And I sought to confirm           16· · · conduct, and so I -- I was seeking to speak with her
17· · · whether that was true or not.                            17· · · about that.
18· · · · · · ·Q· · ·So in reading this e-mail for the first     18· · · · · · ·Q· · ·Again, I'm not sure that answers the
19· · · time, did you formulate a belief as to whether or not    19· · · question.
20· · · Aubry McMahon may or may not be LGBTQ?                   20· · · · · · · · · ·MR. WOLNOWSKI:· Could you please read
21· · · · · · ·A· · ·I did not.                                  21· · · · · · ·back the question, Ms. Ratner?
22· · · · · · ·Q· · ·So if I'm understanding this, when you      22· · · · · · · · · ·(WHEREUPON, the previous question was
23· · · read this e-mail and a woman wrote that she had a        23· · · · · · ·read by the court reporter.)
24· · · wife, it didn't connect to you that this person may      24· · · · · · ·A· · ·I did not form that belief because I was
25· · · be LGBTQ?                                                25· · · not seeking to understand that.· What I was seeking

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·MR. WARD:· I'm going to object to form;     ·2· · · to understand was her conduct and whether --
·3· · · · · · ·vague and ambiguous and argumentative.            ·3· · · · · · ·Q· · ·At any point -- I'm sorry to cut you off.
·4· · · · · · · · · ·You may answer.                             ·4· · · · · · · · · ·Anything else?
·5· · · · · · ·A· · ·Well, Mr. Wolnowski, what we were seeking   ·5· · · · · · ·A· · ·And just -- and whether she was able to
·6· · · to do was dis- -- it -- it was to seek to understand     ·6· · · comply with our standards of conduct.
·7· · · to determine whether this was as it appeared as it       ·7· · · · · · ·Q· · ·At any point after the time that you
·8· · · was written or whether there was an error.               ·8· · · first read this e-mail, did you formulate a belief as
·9· · · · · · ·Q· · ·I'm not sure that answers the question.     ·9· · · to whether or not Aubry McMahon was LGBTQ?
10· · · · · · · · · ·MR. WOLNOWSKI:· Could you please read the   10· · · · · · · · · ·MR. WARD:· I'm going to object to form as
11· · · · · · ·question back, Ms. Ratner (sic)?                  11· · · · · · ·vague and ambiguous.
12· · · · · · · · · ·MR. WARD:· Counsel, can you let the         12· · · · · · · · · ·You may answer.
13· · · · · · ·witness finish her answer?                        13· · · · · · ·A· · ·I was able to confirm that she would --
14· · · · · · ·Q· · ·Were you done with your answer,             14· · · was not able to comply with our standards of conduct
15· · · Ms. Freiberg?                                            15· · · because of her same-sex marriage on January 8th after
16· · · · · · ·A· · ·No, I just have a little bit more to add    16· · · speaking with her.
17· · · to that, which is that I did not want to conclude        17· · · · · · ·Q· · ·I'm not asking about her conformance of
18· · · until I had the opportunity to speak with her.           18· · · standards of conduct.
19· · · · · · ·Q· · ·But nevertheless, when you first read       19· · · · · · · · · ·My question is about when you formed a
20· · · this e-mail, you thought that there was a possibility    20· · · belief as to whether or not she was LGBTQ.
21· · · that Aubry might be LGBTQ; is that a fair statement?     21· · · · · · · · · ·MR. WOLNOWSKI:· If you could, Ms. Ratner,
22· · · · · · · · · ·MR. WARD:· I'm going to object to the       22· · · · · · ·please read back the question.
23· · · · · · ·extent it mischaracterizes or misstates           23· · · · · · · · · ·(WHEREUPON, the previous question was
24· · · · · · ·testimony.                                        24· · · · · · ·read by the court reporter.)
25· · · · · · · · · ·You may answer.                             25· · · · · · · · · ·MR. WARD:· I renew the same objections


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·and add argumentative.                            ·2· · · · · · · · · ·Some of those e-mail communications were
·3· · · · · · · · · ·You may answer.                             ·3· · · either from or included legal counsel, whereas other
·4· · · · · · ·A· · ·Okay.· So, Mr. Wolnowski, the -- I --       ·4· · · didn't; isn't that correct?
·5· · · I -- whether she was LGBTQ or not was not relevant or    ·5· · · · · · ·A· · ·That is correct.
·6· · · material to World Vision.· We were -- I was seeking      ·6· · · · · · ·Q· · ·So as it relates to the communications
·7· · · to confirm her conduct.· So that is why I cannot         ·7· · · that did not include or involve legal counsel, please
·8· · · answer that I had a belief that she was LGBTQ,           ·8· · · tell me the general nature of those communications to
·9· · · because that -- that was not what I was seeking to       ·9· · · the extent that you can remember.
10· · · understand.                                              10· · · · · · ·A· · ·I received communication from Catherine
11· · · · · · · · · ·MR. WARD:· Counsel, we're now at a point    11· · · Miolla that she had received the e-mail from Aubry
12· · · · · · ·where we're about 15 or 20 minutes beyond the     12· · · McMahon.
13· · · · · · ·five or ten minutes I asked for, so I will        13· · · · · · ·Q· · ·Anything else?
14· · · · · · ·need a break at this point.                       14· · · · · · ·A· · ·Catherine Miolla shared with me the
15· · · · · · · · · ·MR. WOLNOWSKI:· Okay.· So let's go off      15· · · e-mail that was sent by Aubry McMahon, and she also
16· · · · · · ·the record, and we will continue in a moment.     16· · · shared the phone screen interview that she had
17· · · · · · · · · ·MR. WARD:· Thank you.                       17· · · conducted with Ms. McMahon.
18· · · · · · · · · ·(WHEREUPON, a brief recess was taken,       18· · · · · · ·Q· · ·Anything else?
19· · · · · · ·after which the following transpired:)            19· · · · · · ·A· · ·Not that I'm recalling off the top of my
20· · · · · · · · · ·(Time noted:· 3:51 p.m.)                    20· · · head.
21· · · CONTINUED EXAMINATION BY MR. WOLNOWSKI:                  21· · · · · · ·Q· · ·I will show you what will be marked as
22· · · · · · ·Q· · ·Ms. Freiberg, was there any point that      22· · · Plaintiff's Exhibit Number 4.· It's a document that
23· · · you either formed a belief or came to learn that         23· · · is Bates-stamped WV 231 to 232.· It has been supplied
24· · · Aubry McMahon is LGBTQ?                                  24· · · during the discovery phase of this case.
25· · · · · · · · · ·MR. WARD:· Object as to form.               25· · · · · · · · · ·If you have a moment, please review and

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·You may answer.                             ·2· · · let me know once you have concluded reviewing it.
·3· · · · · · ·A· · ·On January 8th when I spoke with her and    ·3· · · · · · · · · ·(WHEREUPON, the above-referred-to
·4· · · she confirmed that she was in a same-sex marriage.       ·4· · · · · · ·document, Bates-stamped WV-000231 through
·5· · · · · · ·Q· · ·So is it fair to say that at no point       ·5· · · · · · ·WV-000232, was marked as Plaintiff's
·6· · · before that had you either formed a belief or came to    ·6· · · · · · ·Exhibit 4, for identification, as of this
·7· · · learn that Aubry McMahon was LGBTQ?                      ·7· · · · · · ·date, displayed by the court reporter, and the
·8· · · · · · · · · ·MR. WARD:· Objection to form.               ·8· · · · · · ·witness was given the opportunity to review
·9· · · · · · ·A· · ·I would say I didn't form a belief          ·9· · · · · · ·the entirety of the document.)
10· · · because that's not what I was seeking to determine.      10· · · · · · · · · ·(Time noted:· 3:57 p.m.)
11· · · · · · ·Q· · ·So the answer is no, you had not formed a   11· · · · · · ·Q· · ·Did you have chance to review this
12· · · belief or came to learn prior to January the 8th?        12· · · document?
13· · · · · · ·A· · ·I agree with that.                          13· · · · · · ·A· · ·I did.
14· · · · · · ·Q· · ·Now, Ms. Freiberg, you received a number    14· · · · · · ·Q· · ·Do you recognize this document?
15· · · of e-mails between January 5th, 2021 and January 8th,    15· · · · · · ·A· · ·I do.
16· · · 2021 with respect to Aubry McMahon; isn't that           16· · · · · · ·Q· · ·Have you ever seen it before?
17· · · correct?                                                 17· · · · · · ·A· · ·I -- well, yes.· It's the --
18· · · · · · ·A· · ·Could you show those to me?                 18· · · · · · ·Q· · ·Now, I can represent to you that some of
19· · · · · · ·Q· · ·Well, I'll -- I'll show you some of them,   19· · · these e-mails under this e-mail chain which begins on
20· · · but I just generally want to know if between those       20· · · January the 5th are not entirely complete, but from
21· · · few days, if you received a number of e-mails with       21· · · what is there, I have some questions for you; okay,
22· · · respect to Aubry McMahon.                                22· · · Ms. Freiberg?
23· · · · · · ·A· · ·I did receive some e-mails, but I'm not     23· · · · · · ·A· · ·Okay.
24· · · sure of the number of them.                              24· · · · · · · · · ·MR. WOLNOWSKI:· First and foremost, I
25· · · · · · ·Q· · ·Understood.                                 25· · · · · · ·will call for production for the full e-mail


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  Case 2:21-cv-00920-JLR Document 25-13 Filed 04/11/23 Page 16 of 67
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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·chain of this.· I will put it in writing and      ·2· · · somewhere between five and ten minutes?
·3· · · · · · ·interpose that upon counsel shortly after the     ·3· · · · · · ·A· · ·To the best of my knowledge.
·4· · · · · · ·deposition.                                       ·4· · · · · · ·Q· · ·Please tell me everything you can
·5· · · · · · ·Q· · ·Now, Ms. Freiberg, I see that certain       ·5· · · remember about that conversation.
·6· · · e-mails were exchanged between you and Catherine         ·6· · · · · · ·A· · ·Well, Catherine shared with me that she'd
·7· · · Miolla on January 5th, 2021 regarding Aubry McMahon.     ·7· · · received the e-mail from Ms. McMahon, and that she
·8· · · · · · · · · ·Did you and Catherine Miolla have any       ·8· · · had -- I -- I -- I'm not sure I can remember all of
·9· · · other communications on January 5th, 2021 relating to    ·9· · · the details, but that she essentially showed me the
10· · · Aubry McMahon whether it be by telephone, Zoom,          10· · · e-mail that Ms. McMahon had sent.· And my
11· · · electronic messaging, in person, or otherwise?           11· · · recollection is that I asked her about her phone
12· · · · · · ·A· · ·We did have communication before this one   12· · · screen that she had had with Ms. McMahon, because the
13· · · where Catherine Miolla shared with me the e-mail that    13· · · information in her e-mail was contrary to her
14· · · she had received from Ms. McMahon.                       14· · · responses in the phone screen.
15· · · · · · ·Q· · ·Did you and Catherine Miolla have any       15· · · · · · ·Q· · ·Did the e-mails that I've showed you at
16· · · non-e-mail communications on January 5th of 2021         16· · · Plaintiff's Exhibit 4, were they exchanged before or
17· · · relating to Aubry McMahon?                               17· · · after this phone call with Catherine Miolla?
18· · · · · · ·A· · ·Yes.· My recollection is that we spoke on   18· · · · · · ·A· · ·Are you referring to the e-mail that
19· · · a Teams call where Catherine shared with me that she     19· · · includes -- that is the January 5th e-mail from
20· · · had reviewed an e-mail from Ms. McMahon.                 20· · · Ms. McMahon?
21· · · · · · ·Q· · ·So first and foremost, Ms. Freiberg, you    21· · · · · · ·Q· · ·No.· I'm referring to the January 5th,
22· · · said the word "we" in that last response.                22· · · 2021 e-mail at 3:07 from you to Catherine Miolla that
23· · · · · · · · · ·Who was "we"?                               23· · · is in Plaintiff's Exhibit Number 4.
24· · · · · · ·A· · ·We, as in World Vision, had received an     24· · · · · · ·A· · ·That occurred after when --
25· · · e-mail.                                                  25· · · · · · ·Q· · ·When you say -- I'm sorry.

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·I believe that you said, "We spoke on a     ·2· · · · · · ·A· · ·Yeah, I'll just -- sorry, I will finish
·3· · · Teams call."                                             ·3· · · the sentence.· I realize I'm pausing, and it may feel
·4· · · · · · · · · ·I'm asking who --                           ·4· · · like my sentence is finished, but this e-mail on
·5· · · · · · ·A· · ·Oh, I --                                    ·5· · · January 5th at 3:07, as it's dated here, occurred
·6· · · · · · ·Q· · ·-- all the people who were present on       ·6· · · after Ms. Miolla and I spoke where she shared that
·7· · · that Teams call, to the extent you know and can          ·7· · · she had received an e-mail from Ms. McMahon.
·8· · · remember.                                                ·8· · · · · · ·Q· · ·During your phone call with Ms. Miolla on
·9· · · · · · ·A· · ·Okay.· My apologies.· I misunderstand       ·9· · · January 5th, which you stated lasted somewhere
10· · · you.                                                     10· · · between five and ten minutes, was the topic of Aubry
11· · · · · · · · · ·Catherine called me -- Catherine called     11· · · McMahon possibly being in a same-sex marriage
12· · · me on Teams regarding the e-mail that she had            12· · · discussed?
13· · · received from Ms. McMahon.                               13· · · · · · ·A· · ·It was specifically about the e-mail and
14· · · · · · ·Q· · ·Was anybody else on that call?              14· · · how the e-mail was not consistent with the phone
15· · · · · · ·A· · ·No.                                         15· · · screen that was conducted.
16· · · · · · ·Q· · ·How long did that call last?                16· · · · · · ·Q· · ·My question is a little more specific,
17· · · · · · ·A· · ·I don't remember for certain, but not       17· · · and it regards whether or not the topic of
18· · · very long.· Maybe --                                     18· · · Ms. McMahon being in a same-sex marriage was
19· · · · · · ·Q· · ·When you say -- I'm sorry, I'll -- I'll     19· · · discussed on that phone call.
20· · · let you finish.· My apologies.                           20· · · · · · ·A· · ·I don't recall that level of specificity.
21· · · · · · ·A· · ·You know, some number of minutes; five to   21· · · · · · ·Q· · ·During that phone call, was it discussed
22· · · ten minutes.                                             22· · · between you and Ms. Miolla that Ms. McMahon may be
23· · · · · · ·Q· · ·So as you testified today, Catherine        23· · · LGBTQ?
24· · · Miolla called you on January 5th, 2021 to speak about    24· · · · · · ·A· · ·Not to my recollection.
25· · · Aubry McMahon and that that phone call lasted            25· · · · · · ·Q· · ·This e-mail chain which I've showed you,


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · which is part of Plaintiff's Exhibit Number 4,           ·2· · · phone screen document?
·3· · · suggests that you wanted to speak with Ms. McMahon on    ·3· · · · · · ·A· · ·I am not sure if she is doing that at my
·4· · · the telephone; is that correct?                          ·4· · · request.· I think it's very possible that she is
·5· · · · · · ·A· · ·That is correct.                            ·5· · · doing that at my request.
·6· · · · · · ·Q· · ·If you could, please explain to me why      ·6· · · · · · ·Q· · ·In this e-mail, Catherine Miolla wrote,
·7· · · you wanted to talk to her on the telephone.              ·7· · · "Hi Melanie, Aubry's phone interview is attached.
·8· · · · · · ·A· · ·It's as I stated before, we wanted to       ·8· · · The standards of conduct section with her responses
·9· · · speak with her to ask her about her e-mail and           ·9· · · is the last section.· Let me know if you need
10· · · whether she intended to reference her wife, and          10· · · anything else."
11· · · whether she understood that she had responded            11· · · · · · · · · ·Do you know why Catherine Miolla
12· · · differently when we asked her if she could comply        12· · · specifically referenced the standards of conduct
13· · · with our standards of conduct.                           13· · · section in this e-mail?
14· · · · · · ·Q· · ·From your recollection and if you know,     14· · · · · · ·A· · ·Yes.
15· · · did these e-mail communications, which I've showed       15· · · · · · ·Q· · ·Please tell me why.
16· · · you at Plaintiff's Exhibit 4, take place after an        16· · · · · · ·A· · ·Because the e-mail that Ms. McMahon sent
17· · · offer of employment was extended to Aubry McMahon, or    17· · · was contrary to her responses in the standards of
18· · · before?                                                  18· · · conduct section of the phone screen.
19· · · · · · ·A· · ·They were after the offer was extended.     19· · · · · · ·Q· · ·How so?
20· · · · · · ·Q· · ·Ms. Freiberg, I'd like to show you what     20· · · · · · ·A· · ·In the phone screen, Ms. McMahon was --
21· · · would be marked Plaintiff's Exhibit Number 5.· It is     21· · · she was -- the -- our standards of conduct were
22· · · a document which is Bate-stamped WV 2858, and it is a    22· · · explained to her.· Examples of behavior or conduct
23· · · document which was exchanged in the discovery phase      23· · · that don't correspond with our standards of conduct
24· · · of the litigation.                                       24· · · were described, and she was asked the question
25· · · · · · · · · ·If you could, Ms. Freiberg, please review   25· · · whether she could comply with those standards, and

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · and let me know once you've concluded doing so.          ·2· · · her response was, "Yes, I can abide."
·3· · · · · · · · · ·(WHEREUPON, the above-referred-to           ·3· · · · · · ·Q· · ·Now, in terms of compliance with
·4· · · · · · ·document, Bates-stamped WV-002858, was marked     ·4· · · standards of conduct, does that mean belief in that
·5· · · · · · ·as Plaintiff's Exhibit 5, for identification,     ·5· · · standard of conduct, or does that mean conducting
·6· · · · · · ·as of this date, and displayed by the court       ·6· · · oneself in accordance with the standard of conduct?
·7· · · · · · ·reporter.)                                        ·7· · · · · · ·A· · ·It means conducting oneself.
·8· · · · · · ·Q· · ·Ms. Freiberg, have you concluded            ·8· · · · · · · · · ·MR. WARD:· I was just going to object to
·9· · · reviewing this document?                                 ·9· · · · · · ·form.
10· · · · · · ·A· · ·Is it just this one page?                   10· · · · · · · · · ·THE WITNESS:· Okay.
11· · · · · · ·Q· · ·Yes.                                        11· · · · · · · · · ·MR. WARD:· It's fine.
12· · · · · · ·A· · ·Yes.                                        12· · · · · · · · · ·THE WITNESS:· Okay.· Sorry.
13· · · · · · ·Q· · ·Ms. Freiberg, do you recognize this         13· · · · · · · · · ·MR. WARD:· No worries.
14· · · document?                                                14· · · · · · ·Q· · ·So is it fair to say that if an
15· · · · · · ·A· · ·Yes.                                        15· · · individual believed that it was okay for same-sex
16· · · · · · ·Q· · ·Have you ever seen it before?               16· · · individuals to marry, that that would not necessarily
17· · · · · · ·A· · ·Yes.                                        17· · · preclude employment with World Vision Incorporated;
18· · · · · · ·Q· · ·Can you please tell me what it is?          18· · · but if one were in a same-sex marriage, then that
19· · · · · · ·A· · ·It is an e-mail from Catherine Miolla to    19· · · would?
20· · · myself attaching her phone interview.                    20· · · · · · · · · ·MR. WARD:· Objection as to form and
21· · · · · · ·Q· · ·From your recollection, why did Catherine   21· · · · · · ·speculation.
22· · · Miolla e-mail you a copy of Aubry's phone interview?     22· · · · · · · · · ·But you may answer.
23· · · · · · ·A· · ·Because I wanted to use -- to use that in   23· · · · · · ·A· · ·I agree with your description.
24· · · the discussion with Ms. McMahon.                         24· · · · · · ·Q· · ·Did you review the phone screen document
25· · · · · · ·Q· · ·Did you ask Ms. Miolla to send you the      25· · · that was sent from Catherine Miolla to you on


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · January 5th?                                             ·2· · · Plaintiff's Exhibit 5?
·3· · · · · · ·A· · ·Yes, I believe so.                          ·3· · · · · · ·A· · ·Yes.
·4· · · · · · ·Q· · ·Do you recall when?                         ·4· · · · · · ·Q· · ·Is this document what you received from
·5· · · · · · ·A· · ·No.                                         ·5· · · Catherine Miolla via e-mail on January 5th, 2021?
·6· · · · · · ·Q· · ·Do you recall whether or not you reviewed   ·6· · · · · · ·A· · ·Yes.
·7· · · it on January 5th?                                       ·7· · · · · · ·Q· · ·I'd like to turn your attention to the
·8· · · · · · ·A· · ·You know, I don't have a recollection of    ·8· · · third and fourth pages, those which are Bate-stamped
·9· · · opening the document, but I -- I -- I believe I would    ·9· · · WV 69 and 70.
10· · · have.                                                    10· · · · · · · · · ·MR. WOLNOWSKI:· Off record.
11· · · · · · ·Q· · ·Well, rather than speculate, do you         11· · · · · · · · · ·(Discussion held off the record)
12· · · recall whether or not you definitely reviewed between    12· · · · · · ·Q· · ·Ms. Freiberg, if you could, can you
13· · · January 5th, 2021 and January 8th, 2021?                 13· · · explain to me the orange sections that have questions
14· · · · · · ·A· · ·I can definitely say yes.· In fact, if I    14· · · or requests, and then the white sections underneath
15· · · can further clarify.· As I reflect, I did -- I did       15· · · which appear to be some form of response?
16· · · review it on the 5th as we were preparing to speak       16· · · · · · ·A· · ·Yes, I can confirm that the orange
17· · · with her.· So I needed to review the actual responses    17· · · sections are questions, and the white sections in
18· · · in preparation of the call with her -- with -- with      18· · · that box are the candidate's response.
19· · · Ms. McMahon.                                             19· · · · · · ·Q· · ·Now, with respect to this particular
20· · · · · · ·Q· · ·I would like to show you what will be       20· · · document -- now I'm not asking generally, but I'm
21· · · marked Plaintiff's Exhibit Number 6.· It is a            21· · · asking with respect to this specific document -- how
22· · · document which is Bate-stamped WV 67 through 70.· It     22· · · were the requests or questions asked of Ms. McMahon
23· · · is a document which was exchange during the discovery    23· · · derived; in other words, do you know who wrote them?
24· · · phase of the litigation.                                 24· · · · · · ·A· · ·All right.· These questions are templated
25· · · · · · · · · ·Please review the document and let me       25· · · questions.· So the -- the verbiage above and the

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · know once you've completed doing so.                     ·2· · · verbiage below that are templated questions for every
·3· · · · · · · · · ·(WHEREUPON, the above-referred-to           ·3· · · position at World Vision.
·4· · · · · · ·document, Bates-stamped WV-000067 through         ·4· · · · · · ·Q· · ·So it's fair to say that these questions
·5· · · · · · ·WV-000070, was marked as Plaintiff's              ·5· · · are not unique with respect to a customer service
·6· · · · · · ·Exhibit 6, for identification, as of this         ·6· · · representative candidate?
·7· · · · · · ·date, displayed by the court reporter, and the    ·7· · · · · · ·A· · ·Yes, that's correct.
·8· · · · · · ·witness was given the opportunity to review       ·8· · · · · · ·Q· · ·Ms. Freiberg, do you know who the person
·9· · · · · · ·the entirety of the document.)                    ·9· · · or persons was or were who actually asked these
10· · · · · · · · · ·(Time noted:· 4:18 p.m.)                    10· · · questions to Ms. McMahon?
11· · · · · · ·Q· · ·Ms. Freiberg, have you had a chance to      11· · · · · · ·A· · ·Yes.· Catherine Miolla was the recruiter
12· · · review the document which is Bate-stamped -- excuse      12· · · who asked these questions of Ms. McMahon.
13· · · me, the document which is marked as Plaintiff's          13· · · · · · ·Q· · ·Do you recall when she did that?
14· · · Exhibit Number 6?                                        14· · · · · · ·A· · ·I do not have the date.
15· · · · · · ·A· · ·Yes.                                        15· · · · · · ·Q· · ·In the white boxes below the orange
16· · · · · · ·Q· · ·Do you recognize this document?             16· · · boxes, there appear to be responses.
17· · · · · · ·A· · ·Yes.                                        17· · · · · · · · · ·To your knowledge and recollection, are
18· · · · · · ·Q· · ·Have you ever seen it before?               18· · · these the responses that were given by Ms. McMahon to
19· · · · · · ·A· · ·Yes.                                        19· · · each of the specific requests or questions?
20· · · · · · ·Q· · ·What is it?                                 20· · · · · · ·A· · ·Yes.
21· · · · · · ·A· · ·It is the phone screen that is used for     21· · · · · · ·Q· · ·Okay.· And just to be clear, does that
22· · · recruiting the DSRT.                                     22· · · also -- is that also the same answer with respect to
23· · · · · · ·Q· · ·Is the document marked Plaintiff's          23· · · the requests and answers which appear on the fourth
24· · · Exhibit Number 6 the phone interview referenced in       24· · · page, which is Bates-marked WV 70?
25· · · Catherine Miolla's e-mail that I just showed you as      25· · · · · · · · · ·MR. WOLNOWSKI:· Ms. Ratner, if you could


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·scroll up when you have a moment.                 ·2· · · believe are not in alignment with our standards of
·3· · · · · · · · · ·THE REPORTER:· (Complying)                  ·3· · · conduct, and therefore, unacceptable behavior for
·4· · · · · · ·A· · ·Yes.· Those are also -- the white boxes     ·4· · · employees include:"
·5· · · are also Ms. McMahon's --                                ·5· · · · · · · · · ·And then there is a second -- well, there
·6· · · · · · ·Q· · ·I'm sorry, you cut out there just for a     ·6· · · are a number of dashes, and the second one, in
·7· · · minute.· My apologies.                                   ·7· · · particular, reads, "Any sexual conduct outside of
·8· · · · · · · · · ·If you could repeat your answer,            ·8· · · marriage; pause, WV defines marriage as between a man
·9· · · Ms. Freiberg.                                            ·9· · · and a woman."
10· · · · · · ·A· · ·Yes.· The -- the boxes in white are         10· · · · · · · · · ·Do you see that, Ms. Freiberg?
11· · · Ms. McMahon's responses.                                 11· · · · · · ·A· · ·I see that.
12· · · · · · ·Q· · ·And just for the sake of completeness,      12· · · · · · ·Q· · ·First and foremost, do you know why the
13· · · with respect to this fourth page, the questions in       13· · · word "pause" is located in that sentence?
14· · · the orange boxes were asked also by Ms. Miolla?          14· · · · · · ·A· · ·It's just for clarity of communication.
15· · · · · · ·A· · ·That is correct.                            15· · · · · · ·Q· · ·And specifically, what clarity is it
16· · · · · · · · · ·MR. WOLNOWSKI:· Ms. Ratner, could you       16· · · intended to convey to the reader?
17· · · · · · ·scroll up to the third page, so that way the      17· · · · · · ·A· · ·It's so that the full sentence can be
18· · · · · · ·second half of the document is in the viewer      18· · · heard and understood.
19· · · · · · ·screen?                                           19· · · · · · ·Q· · ·Is it fair to say that World Vision
20· · · · · · · · · ·THE REPORTER:· (Complying)                  20· · · wishes to emphasize how it views the definition of
21· · · · · · ·Q· · ·Ms. Freiberg, I'd like to direct your       21· · · marriage to prospective candidates for employment?
22· · · attention to so much of this third page as it relates    22· · · · · · · · · ·MR. WARD:· Objection as to form.
23· · · to section II, which has the title or the heading        23· · · · · · · · · ·You may answer.
24· · · "Key Points in Christian Conduct Conversation."          24· · · · · · ·A· · ·It is to ensure that it is clear.· I --
25· · · · · · · · · ·Do you see that section and the bullet      25· · · I -- I don't have any -- I -- I don't know that it

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · points and the dashes which follow?                      ·2· · · would be for emphasis of that point over others, but
·3· · · · · · ·A· · ·I do.                                       ·3· · · it's about clarity.
·4· · · · · · ·Q· · ·With respect to this document, do you       ·4· · · · · · ·Q· · ·So your understanding is that it is
·5· · · know if section II and the bullet points and dashes      ·5· · · intended to be made clear to the potential employee
·6· · · below were read to Ms. McMahon during a telephone        ·6· · · that World Vision defines marriage as between a man
·7· · · screening or telephone interview?                        ·7· · · and a woman; correct?
·8· · · · · · ·A· · ·Yes.· It is -- it is our expectation that   ·8· · · · · · ·A· · ·It's intended to show both pieces, that
·9· · · the recruiters read this verbatim to the candidates.     ·9· · · sexual conduct that occur outside of marriage is not
10· · · So I wasn't present when Ms. Miolla spoke with           10· · · in alignment with our standards; and that World
11· · · Ms. McMahon, but my statement is that, knowing           11· · · Vision further defines marriage as between a man and
12· · · Catherine's work, she would have read this to            12· · · a woman.
13· · · Ms. McMahon.                                             13· · · · · · ·Q· · ·So if an individual were engaging in
14· · · · · · ·Q· · ·So your understanding is that it was, in    14· · · sexual conduct outside of a marriage, irrespective of
15· · · fact, read to Ms. McMahon although you weren't           15· · · whether it's tradition or same-sex, this would not be
16· · · actually on the telephone call; is that correct?         16· · · in alignment with World Vision's standards of conduct
17· · · · · · ·A· · ·Correct.                                    17· · · and would be concluded to be an unacceptable behavior
18· · · · · · ·Q· · ·And as you sit here today, there's          18· · · of an employee; is that accurate?
19· · · nothing that you know or that you've learned which       19· · · · · · · · · ·MR. WARD:· Objection as to form.
20· · · would make you think otherwise; is that correct?         20· · · · · · · · · ·You may answer.
21· · · · · · ·A· · ·That's correct.                             21· · · · · · ·A· · ·That -- that was a very long sentence.
22· · · · · · ·Q· · ·I'd like to direct your attention to the    22· · · · · · · · · ·Perhaps, Teri, could you read that back?
23· · · fourth bullet, Ms. Freiberg.                             23· · · · · · · · · ·(WHEREUPON, the previous question was
24· · · · · · · · · ·This fourth bullet I will read into the     24· · · · · · ·read by the court reporter.)
25· · · record.· It states, "Examples of behaviors that we       25· · · · · · ·A· · ·Yeah, I'm just trying to understand


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · the -- the kind of point of the question.                ·2· · · to our standards of conduct.
·3· · · · · · · · · ·So if there was sexual conduct outside of   ·3· · · · · · ·Q· · ·Was the issue that she was not in
·4· · · a marriage between a man and a woman, that would not     ·4· · · alignment, or was the issue that her phone interview
·5· · · be in alignment; and if there was sexual conduct in a    ·5· · · responses was inconsistent with her January 5th
·6· · · same-sex marriage, that also isn't align- -- in          ·6· · · e-mail?
·7· · · alignment; and furthermore, World Vision defines         ·7· · · · · · · · · ·MR. WARD:· I'm going to object as to
·8· · · marriage as being between man and a woman.· So that's    ·8· · · · · · ·form.
·9· · · the way in which it recognizes marriage.                 ·9· · · · · · ·A· · ·The issue is that it is a World Vision
10· · · · · · ·Q· · ·So if an individual were in a same-sex      10· · · expectation to comply with our standards of conduct,
11· · · marriage, would or would that not be in alignment        11· · · and she re- -- responded in the phone screen to the
12· · · with World Vision's standards of conduct?                12· · · affirmative, but her e-mail to us, that was
13· · · · · · ·A· · ·It would --                                 13· · · contradictory to that.
14· · · · · · · · · ·MR. WARD:· Just objection as to form.       14· · · · · · ·Q· · ·So was her employment rescinded -- excuse
15· · · · · · · · · ·You may answer.                             15· · · me, was the offer of employment rescinded because of
16· · · · · · ·A· · ·Okay.· It would not be in alignment with    16· · · an inconsistency, or because she was in a same-sex
17· · · our standards of conduct.                                17· · · marriage?
18· · · · · · ·Q· · ·And as such, it would be unacceptable       18· · · · · · · · · ·MR. WARD:· Objection as to form.
19· · · behavior; is that correct?                               19· · · · · · ·A· · ·Well, the offer was rescinded for a few
20· · · · · · ·A· · ·That is correct.                            20· · · reasons.· The first being that we sought to speak
21· · · · · · · · · ·MR. WARD:· Objection to form.               21· · · with her to understand the e-mail that she sent, and
22· · · · · · ·A· · ·That is correct.                            22· · · in spite of several attempts, we were unable to do
23· · · · · · ·Q· · ·Now, having had a chance to review this     23· · · so, which then caused us to use the e-mail at face
24· · · document, Ms. Freiberg, and in looking back at the       24· · · value, and we rescinded the offer.· Then when we were
25· · · e-mail which was sent -- excuse me, which was sent to    25· · · able to speak with, her she confirmed that, in fact,

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · you by Catherine Miolla on January 5th, wherein it       ·2· · · she did mean her wife, and when we reviewed her
·3· · · states, "The standards of conduct section with her       ·3· · · responses to the -- to this -- to the question that
·4· · · responses is the last section," to which section did     ·4· · · we just reviewed, she indicated that she didn't think
·5· · · that refer?                                              ·5· · · that it mattered, she felt that as long as she was
·6· · · · · · ·A· · ·Okay.· Teri, could you scroll down?         ·6· · · okay working for an organization that believed what
·7· · · · · · · · · ·THE REPORTER:· (Complying)                  ·7· · · we believe, that would be sufficient.
·8· · · · · · ·A· · ·So it's to this section.                    ·8· · · · · · ·Q· · ·So if I'm understanding this, there were
·9· · · · · · ·Q· · ·Okay.· And specifically, why was there      ·9· · · a number of factors that contributed to her offer of
10· · · communication between you and Ms. Miolla as it           10· · · employment having been rescinded; is that correct?
11· · · related to this last page of Plaintiff's Exhibit         11· · · · · · ·A· · ·Yes.
12· · · Number 6?                                                12· · · · · · ·Q· · ·The first was, in essence, your inability
13· · · · · · ·A· · ·Because the middle question, which reads,   13· · · to get in touch with her when you first reached out
14· · · "It's important that you know of World Vision's          14· · · to her; is that one factor?
15· · · expectation so that you can decide if we are the         15· · · · · · · · · ·MR. WARD:· I'm going to object as to
16· · · right organization for you.· Are you willing and able    16· · · · · · ·form.
17· · · to comply with the standards of conduct if employed      17· · · · · · · · · ·But you may answer.
18· · · by World Vision?"                                        18· · · · · · ·A· · ·It was -- it -- it was, and I just would
19· · · · · · · · · ·And the question of her was whether she     19· · · add that it was over the course of multiple attempts
20· · · can comply, and she responded, "I'm aligned, yes."       20· · · over three days.
21· · · · · · ·Q· · ·And what about her response to this         21· · · · · · ·Q· · ·Understood.
22· · · answer caused communication between you and              22· · · · · · · · · ·Was another factor the fact that her
23· · · Ms. Miolla, amongst others?                              23· · · answers were -- question withdrawn.
24· · · · · · ·A· · ·Because her e-mail referred to her wife,    24· · · · · · · · · ·Was another factor that her responses to
25· · · which would then mean that she was not in alignment      25· · · the phone interview were inconsistent with the e-mail


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · that she sent Catherine Miolla on January the 5th?       ·2· · · McMahon?
·3· · · · · · ·A· · ·I would say yes, and that it was because    ·3· · · · · · ·A· · ·No, not specifically with Ms. Talbot.
·4· · · what she stated to be true was the e-mail as opposed     ·4· · · · · · ·Q· · ·Between January 5th and January 8th of
·5· · · to the phone screen.· And --                             ·5· · · 2021, approximately how many times did you speak with
·6· · · · · · ·Q· · ·Was a -- I'm sorry.· My apologies again.    ·6· · · Ms. Talbot on the topic of Aubry McMahon?
·7· · · I'll -- I'll make sure I wait long enough so that way    ·7· · · · · · ·A· · ·Well, there were -- there was a few
·8· · · we can -- you can get your full completed answer.        ·8· · · privileged conversations, but outside of that, I
·9· · · · · · ·A· · ·Yes.· I actually don't remember what I      ·9· · · remember one conversation that was about sort of
10· · · was going to say as my second point, so go ahead.        10· · · training or role-playing the conversation to be had
11· · · · · · ·Q· · ·Was another factor for the determination    11· · · with Ms. McMahon.
12· · · to rescind the job offer to Ms. McMahon because it       12· · · · · · · · · ·MR. WOLNOWSKI:· Just give me one moment
13· · · was revealed that she was in a same-sex marriage?        13· · · · · · ·here.
14· · · · · · ·A· · ·The same-sex marriage would mean that she   14· · · · · · · · · ·(Pause in the proceeding)
15· · · would not be able to comply with our standards of        15· · · · · · · · · ·(WHEREUPON, the previous portion of the
16· · · conduct, so the answer is yes to that.                   16· · · · · · ·testimony was read by the court reporter.)
17· · · · · · ·Q· · ·Was Ms. McMahon being LGBTQ a factor in     17· · · · · · ·Q· · ·So my question first, you said aside from
18· · · the determination to rescind the job offer extended      18· · · privileged conversations, without -- I don't want to
19· · · to her by World Vision Incorporated?                     19· · · know what was said in those privileged conversations,
20· · · · · · · · · ·MR. WARD:· Objection to form.               20· · · but from your recollection, approximately how many
21· · · · · · · · · ·You may answer.                             21· · · privileged conversations took place?
22· · · · · · ·A· · ·No, it wasn't.                              22· · · · · · ·A· · ·A -- a few.· Maybe two.
23· · · · · · ·Q· · ·Ms. Freiberg, at some point after           23· · · · · · ·Q· · ·Okay.· And if you could, please tell me
24· · · January 5th, 2021, were you a participant in             24· · · everything you can remember about the conversation
25· · · discussions involving the rescission of the job offer    25· · · you had with Ms. Talbot as it related to role-playing

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · extended to Aubry McMahon?                               ·2· · · with Aubry McMahon, as you had touched upon just a
·3· · · · · · ·A· · ·I was.                                      ·3· · · moment ago in a previous response.
·4· · · · · · ·Q· · ·If you know, who was the person or who      ·4· · · · · · ·A· · ·As that time was centered around
·5· · · were the persons who made the ultimate decision to       ·5· · · anticipating what kind of questions we may receive --
·6· · · rescind the offer of employment extended to Aubry        ·6· · · and when I say "we," I mean Catherine and I, because
·7· · · McMahon by World Vision Incorporated?                    ·7· · · both of us were planning to be on the call with
·8· · · · · · ·A· · ·The person who made the ultimate decision   ·8· · · Ms. McMahon -- and just receiving, you know, guidance
·9· · · to rescind the offer was Christine Talbot, senior        ·9· · · and support from Ms. -- Christine Talbot.
10· · · vice president of human resources.                       10· · · · · · ·Q· · ·Okay.· And approximately when did that
11· · · · · · · · · ·Would you like me to spell her name?        11· · · conversation take place?
12· · · · · · ·Q· · ·I will spell it, but thank you very much    12· · · · · · ·A· · ·I expect it would have occurred like
13· · · for offering.                                            13· · · around January 5th, maybe the 6th, somewhere in that
14· · · · · · · · · ·(Discussion held off the record)            14· · · time frame.
15· · · · · · ·Q· · ·Ms. Freiberg, did you personally play any   15· · · · · · ·Q· · ·Do you recall approximately how long it
16· · · role in deciding to rescind the job offer made to        16· · · lasted?
17· · · Aubry McMahon made by World Vision Incorporated?         17· · · · · · ·A· · ·Maybe 20 minutes, but I'm -- I -- I'm not
18· · · · · · · · · ·MR. WARD:· Objection as to form.            18· · · certain about that.
19· · · · · · · · · ·You may answer.                             19· · · · · · ·Q· · ·Was anybody else on that call -- or
20· · · · · · ·A· · ·I was part of the discussion, but not the   20· · · excuse me, was anybody else a participant to that
21· · · ultimate decision maker.                                 21· · · conversation?
22· · · · · · ·Q· · ·At some point between January 5th and       22· · · · · · ·A· · ·Catherine Miolla was there.
23· · · January 8th, 2021, did you and Christine Talbot          23· · · · · · ·Q· · ·Was that a RingCentral meeting,
24· · · discuss how the decision to rescind the offer of         24· · · Ms. Freiberg?
25· · · employment was going to be communicated to Aubry         25· · · · · · ·A· · ·I'm not sure if it was a RingCentral


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · meeting.                                                 ·2· · · about a conversation that you had with both
·3· · · · · · ·Q· · ·Okay.· I'd like to show you what will be    ·3· · · Ms. Talbot and Ms. Miolla relating to a script.
·4· · · marked Plaintiff's Exhibit Number 7.                     ·4· · · · · · · · · ·Is the document that I'm showing you the
·5· · · · · · · · · ·Ms. Freiberg, what I can show you, which    ·5· · · invitation for the meeting that you had just
·6· · · will be marked as Plaintiff's Exhibit Number 7, is a     ·6· · · described?
·7· · · document bearing Bates-stamp numbers WV 240 and 241.     ·7· · · · · · · · · ·MR. WARD:· I'm going to object as to
·8· · · It's a document which was exchanged in the discovery     ·8· · · · · · ·form.
·9· · · phase of this litigation.                                ·9· · · · · · · · · ·You may answer.
10· · · · · · · · · ·Please review it when you have a moment     10· · · · · · ·A· · ·I'm not understanding the question.· I'm
11· · · and let me know once you've concluded doing so.          11· · · not understanding the connection between the script
12· · · · · · · · · ·(WHEREUPON, the above-referred-to           12· · · and this call.
13· · · · · · ·document, Bates-stamped WV-000240 through         13· · · · · · ·Q· · ·Well, follow me, if you will.
14· · · · · · ·WV-000241, was marked as Plaintiff's              14· · · · · · · · · ·You have mentioned that you, Christine
15· · · · · · ·Exhibit 7, for identification, as of this         15· · · Talbot, and Catherine Miolla had a discussion where
16· · · · · · ·date, and displayed by the court reporter.)       16· · · you talked about what you were going to discuss with
17· · · · · · · · · ·THE WITNESS:· If you're waiting my          17· · · Aubry; right?
18· · · · · · ·indication that I've reviewed it, I'm done.       18· · · · · · ·A· · ·Yes.
19· · · · · · ·Q· · ·Okay.· Ms. Talbot (sic), do you recognize   19· · · · · · ·Q· · ·And this document, which is Plaintiff's
20· · · the document that I've shown you marked as               20· · · Exhibit 7, appears to be an invitation to join a
21· · · Plaintiff's Exhibit Number 7?                            21· · · RingCentral call.
22· · · · · · ·A· · ·Are you asking Ms. Talbot, or are you       22· · · · · · ·A· · ·Correct.
23· · · asking me?                                               23· · · · · · ·Q· · ·Was the conversation that you had with
24· · · · · · ·Q· · ·I'm sorry.· My apologies.                   24· · · Christine and Catherine a conversation for which this
25· · · · · · · · · ·Ms. Freiberg, have -- do you recognize      25· · · invitation had been sent?

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · the document that I've shown you marked as               ·2· · · · · · ·A· · ·It -- it was not about the script that
·3· · · Plaintiff's Exhibit Number 7?                            ·3· · · Catherine read to Ms. McMahon.
·4· · · · · · ·A· · ·Yes, I do.                                  ·4· · · · · · ·Q· · ·This subject line states, "Dry run" --
·5· · · · · · ·Q· · ·Have you ever seen it before?               ·5· · · · · · ·A· · ·Yes.
·6· · · · · · ·A· · ·Yes, I -- I guess so.· Yeah.                ·6· · · · · · ·Q· · ·-- correct?
·7· · · · · · ·Q· · ·At some point between January 5th and       ·7· · · · · · ·A· · ·Yes.
·8· · · January 8th of 2021, did you disseminate call-in         ·8· · · · · · ·Q· · ·Could you explain what the meaning was
·9· · · information relating to a RingCentral meeting with       ·9· · · between -- behind "Dry run"?
10· · · you and/or Christine Talbot and Catherine Miolla?        10· · · · · · ·A· · ·Yes.· The meaning behind "Dry run" was
11· · · · · · ·A· · ·You're asking if I disseminated that        11· · · regarding the ultimate phone call that we had on
12· · · information?                                             12· · · January 8th with Ms. McMahon where we had -- where we
13· · · · · · ·Q· · ·Yes.· If you were the one who sent it       13· · · were able to confirm her e-mail and whether she
14· · · around so that people could join.                        14· · · intended to refer to her wife, and whether she
15· · · · · · ·A· · ·Oh, okay.· Yes, I initiated the             15· · · confirmed that she had, in fact, indicated that she
16· · · RingCentral call, according to this -- to this           16· · · would comply with our standards of conduct.· And so
17· · · document.                                                17· · · the dry run was to anticipate questions that could be
18· · · · · · ·Q· · ·Well, irrespective of what the document     18· · · had in that meeting that we would have with
19· · · shows, I'm asking you if you recall having               19· · · Ms. McMahon.
20· · · disseminated or sending around a -- RingCentral          20· · · · · · ·Q· · ·And that dry run meeting or conversation,
21· · · call-in information?                                     21· · · was that the only communication you had with
22· · · · · · ·A· · ·Well, if I'm honest, I would not have       22· · · Christine Talbot between January 5th and
23· · · remembered that I did that as opposed to Ms. Talbot's    23· · · January 28th (sic) as it regarded Aubry McMahon?
24· · · administrative assistant or herself or Catherine.        24· · · · · · · · · ·MR. WARD:· Objection as to form.
25· · · · · · ·Q· · ·And we had discussed just a moment ago      25· · · · · · ·Misstates prior testimony.


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·THE WITNESS:· Do I answer?                  ·2· · · · · · ·document in light of it having -- not having a
·3· · · · · · · · · ·MR. WARD:· Yeah, you can answer.            ·3· · · · · · ·year, so again, I will put that in writing
·4· · · · · · ·A· · ·Okay.· It was the only non-privileged       ·4· · · · · · ·and, indeed, opposing counsel can take that
·5· · · meeting that I recall with Ms. Talbot -- with            ·5· · · · · · ·under advisement.
·6· · · Christine Talbot.                                        ·6· · · · · · · · · ·Second, I will be making a request for
·7· · · · · · ·Q· · ·Understood.                                 ·7· · · · · · ·production with respect to any written
·8· · · · · · · · · ·And in early January of 2020 (sic), if      ·8· · · · · · ·training documentation as it relates to
·9· · · you could just please confirm, what position or          ·9· · · · · · ·number 11 and number 12 as to prayer, part of
10· · · positions did Christine Talbot hold with World           10· · · · · · ·Plaintiff's Exhibit Number 1.· Again, I'll put
11· · · Vision?                                                  11· · · · · · ·those in writing, you can take it under
12· · · · · · ·A· · ·Christine Talbot was the senior vice        12· · · · · · ·advisement, but wanted to just put those on
13· · · president of human resources for World Vision.           13· · · · · · ·the record.
14· · · · · · ·Q· · ·In January of 2021, was Christine Talbot    14· · · CONTINUED EXAMINATION BY MR. WOLNOWSKI:
15· · · your subordinate, or were you hers, or were you          15· · · · · · ·Q· · ·Ms. Freiberg, we just took a break so you
16· · · equal?                                                   16· · · could eat lunch; correct?
17· · · · · · ·A· · ·I was her subordinate.                      17· · · · · · ·A· · ·That is correct.
18· · · · · · ·Q· · ·Is Christine Talbot still employed by       18· · · · · · ·Q· · ·Did you speak with anybody about your
19· · · World Vision Incorporated, to your knowledge?            19· · · deposition testimony during break?
20· · · · · · ·A· · ·She is not.                                 20· · · · · · ·A· · ·Well, what we spoke about was just to
21· · · · · · ·Q· · ·Do you recall when she ceased working for   21· · · continue doing what I was doing, so just advisement
22· · · World Vision Incorporated?                               22· · · to listen carefully --
23· · · · · · ·A· · ·Yes.· On -- well, I will say it as an       23· · · · · · ·Q· · ·Well --
24· · · approximate date, February 3rd if -- around              24· · · · · · ·A· · ·-- respond.
25· · · February 3rd.                                            25· · · · · · ·Q· · ·Okay.· I'm sorry, I didn't mean to

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·Sure.                                       ·2· · · interrupt.
·3· · · · · · · · · ·Of what year, Ms. Freiberg?                 ·3· · · · · · · · · ·MR. WARD:· Well, I should caution, as to
·4· · · · · · ·A· · ·Oh, sorry.· Of 2023.                        ·4· · · · · · ·privilege, you can answer the first question,
·5· · · · · · ·Q· · ·So she ceased working there a couple        ·5· · · · · · ·and then just let him ask each question.
·6· · · weeks ago; is that accurate?                             ·6· · · · · · · · · ·So I think your question, Casey, if you
·7· · · · · · ·A· · ·Yes.                                        ·7· · · · · · ·want to just repeat it, and then --
·8· · · · · · ·Q· · ·To the extent you know and if you know,     ·8· · · · · · · · · ·MR. WOLNOWSKI:· Can you read back the
·9· · · why did she cease working for World Vision               ·9· · · · · · ·question, Ms. Ratner?
10· · · Incorporated?                                            10· · · · · · · · · ·(WHEREUPON, the previous question was
11· · · · · · ·A· · ·She retired.                                11· · · · · · ·read by the court reporter.)
12· · · · · · · · · ·MR. WOLNOWSKI:· Okay.· So let's go off      12· · · · · · ·A· · ·The answer is yes.
13· · · · · · ·the record.                                       13· · · · · · ·Q· · ·Was it with anybody aside from your
14· · · · · · · · · ·(Discussion held off the record)            14· · · attorneys?
15· · · · · · · · · ·(WHEREUPON, a luncheon recess was taken     15· · · · · · ·A· · ·No.
16· · · · · · ·from 4:52 p.m. to 5:27 p.m., after which the      16· · · · · · ·Q· · ·Was there anybody who directed you to
17· · · · · · ·following transpired:)                            17· · · give any kind of specific testimony upon returning
18· · · · · · · · · ·MR. WOLNOWSKI:· Before we continue, just    18· · · from break?
19· · · · · · ·a couple housekeeping things that I noticed       19· · · · · · ·A· · ·No.
20· · · · · · ·while we were on break.                           20· · · · · · ·Q· · ·Ms. Freiberg, at some point on
21· · · · · · · · · ·Initially wanted to say that I'm going to   21· · · January 6th, 2011 (sic), were you a participant on
22· · · · · · ·make a call for production with respect to the    22· · · any e-mails with Christine Talbot and/or Catherine
23· · · · · · ·posting for the specific job for which Aubry      23· · · Miolla relating to reviewing a script of some sort?
24· · · · · · ·applied.· There was some equivocation about       24· · · · · · ·A· · ·I'm not recalling that.
25· · · · · · ·whether Plaintiff's Exhibit 1 was that            25· · · · · · · · · ·(WHEREUPON, the previous question was


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                                                                                                                                  YVer1f
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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·read by the court reporter.)                     ·2· · · which was sent from Christine Talbot on Wednesday,
·3· · · · · · · · · ·MR. WOLNOWSKI:· 2021.                      ·3· · · January 20- -- excuse me, Wednesday, January 6th,
·4· · · · · · · · · ·MR. WARD:· I'm sorry, it was on or about   ·4· · · 2021 at 8:43 a.m. to you and Ms. Miolla.
·5· · · · · · ·January 6 of 2021?                               ·5· · · · · · · · · ·Do you recall receiving this e-mail?
·6· · · · · · · · · ·MR. WOLNOWSKI:· Yes.                       ·6· · · · · · ·A· · ·Yes, I do.· I do now.
·7· · · · · · · · · ·(WHEREUPON, the previous question was      ·7· · · · · · · · · ·MR. WOLNOWSKI:· Okay.· Just put on the
·8· · · · · · ·corrected and read by the court reporter.)       ·8· · · · · · ·record, we call for production for the full
·9· · · · · · · · · ·MR. WARD:· Thank you.                      ·9· · · · · · ·document that includes all of the text.· We'll
10· · · · · · · · · ·We can agree January 6, 2021.              10· · · · · · ·put it in writing.
11· · · · · · · · · ·Thank you.                                 11· · · · · · ·Q· · ·At some point on January 6th, 2021, did
12· · · · · · ·Q· · ·Same answer, Ms. Freiberg?                 12· · · you, Christine Talbot, and Catherine Miolla
13· · · · · · ·A· · ·Maybe a clarifying question.               13· · · participate in an e-mail exchange discussing
14· · · · · · · · · ·Is -- are you referring to --              14· · · reviewing a script?
15· · · · · · ·Q· · ·Let me -- I'll -- I'll ask.· We can        15· · · · · · ·A· · ·In accordance with this e-mail, yes.
16· · · just --                                                 16· · · · · · ·Q· · ·Please explain to me, to the extent you
17· · · · · · · · · ·To be clear, Ms. Freiberg, at some point   17· · · can remember and based on what is not an entirely
18· · · on or about January 6th of 2021, were you a             18· · · complete e-mail, what was being discussed in this
19· · · participant on any e-mails with Christine Talbot        19· · · e-mail from Christine Talbot to you and Catherine
20· · · and/or Catherine Miolla relating to reviewing a         20· · · Miolla at 8:43 a.m. on January 6th.
21· · · script of some sort?                                    21· · · · · · ·A· · ·Well, Christine was offering to -- to
22· · · · · · ·A· · ·I don't remember.                          22· · · review the script that we were going to use with
23· · · · · · ·Q· · ·Ms. Freiberg, I'd like to show you what    23· · · Ms. McMahon and practice with us and also pray with
24· · · will be marked as Plaintiff's Exhibit Number 8.         24· · · us to get us ready for the eventual discussion with
25· · · · · · ·A· · ·Okay.                                      25· · · Ms. McMahon.

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·1· · · · · · · · · · · · · · M. Freiberg                       ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·It is a document which is Bate-stamped     ·2· · · · · · ·Q· · ·Was a script ever created by anybody?
·3· · · WV 242 to 244.· I will represent that this is a         ·3· · · · · · ·A· · ·It was created under privilege.
·4· · · document that was exchanged during the discovery        ·4· · · · · · ·Q· · ·And if you could explain to me what --
·5· · · phase of litigation in this case.                       ·5· · · "created under privilege" -- you mean by that.
·6· · · · · · · · · ·Please review this document and let me     ·6· · · · · · · · · ·MR. WARD:· I'll just, for the record,
·7· · · know once you have completed doing so.                  ·7· · · · · · ·object to the extent that it calls for
·8· · · · · · · · · ·(WHEREUPON, the above-referred-to          ·8· · · · · · ·attorney/client privileged information.
·9· · · · · · ·document, Bates-stamped WV-000242 through        ·9· · · · · · · · · ·But you can answer to the extent you can
10· · · · · · ·WV-000244, was marked as Plaintiff's             10· · · · · · ·answer without disclosing that.
11· · · · · · ·Exhibit 8, for identification, as of this        11· · · · · · ·A· · ·It means that, I guess, with the
12· · · · · · ·date, displayed by the court reporter, and the   12· · · protection of our attorney/client privilege, we
13· · · · · · ·witness was given the opportunity to review      13· · · created some talking points to be able to speak with
14· · · · · · ·the entirety of the document.)                   14· · · Ms. McMahon.
15· · · · · · · · · ·(Time noted:· 5:34 p.m.)                   15· · · · · · ·Q· · ·Do you recall who was involved in the
16· · · · · · ·Q· · ·Have you had a chance to review this       16· · · creation of that script?
17· · · document?                                               17· · · · · · ·A· · ·Yes.· Steve McFarland and Christine
18· · · · · · ·A· · ·I have.                                    18· · · Talbot and myself.
19· · · · · · ·Q· · ·Do you recognize this document?            19· · · · · · · · · ·MR. WOLNOWSKI:· I'm going to call for
20· · · · · · ·A· · ·I do.                                      20· · · · · · ·production of this document.· I understand
21· · · · · · ·Q· · ·Have you ever seen it before?              21· · · · · · ·that there may be a privilege objection;
22· · · · · · ·A· · ·Yes.                                       22· · · · · · ·nevertheless, we can hammer that out.· I want
23· · · · · · ·Q· · ·So if you notice, at the bottom of the     23· · · · · · ·to put it in writing, and certainly opposing
24· · · second page, the one that is marked -- Bate-stamped     24· · · · · · ·counsel can take that under advisement.
25· · · WV 243, there's an e-mail, some of it is cut off,       25· · · · · · · · · ·MR. WARD:· I understand that, and just


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·for the record, we would state it's protected     ·2· · · · · · ·Q· · ·-- to the extent you know.
·3· · · · · · ·by attorney/client privilege, but we'll wait      ·3· · · · · · ·A· · ·So my understanding is it was
·4· · · · · · ·and respond to the written request.               ·4· · · communicated to Ms. McMahon in an e-mail from
·5· · · · · · ·Q· · ·Ms. Freiberg, when it was ultimately        ·5· · · Catherine Miolla to Ms. McMahon.
·6· · · discussed with Ms. McMahon, the rescission of her        ·6· · · · · · ·Q· · ·Ms. Freiberg, I'd like to show you what
·7· · · offer of employment, was any sort of script utilized     ·7· · · will be marked as Plaintiff's Exhibit Number 9.· It
·8· · · during that call?                                        ·8· · · is a document bearing Bate-stamp numbers WV 81 to 82.
·9· · · · · · · · · ·MR. WARD:· Objection as to form and to      ·9· · · · · · · · · ·If you could, please review it at your
10· · · · · · ·the extent it calls for communicative             10· · · convenience and let me know once you've had a review.
11· · · · · · ·information.                                      11· · · I can represent that this document was exchanged
12· · · · · · · · · ·You may ask -- answer.                      12· · · during the discovery phase of litigation in this
13· · · · · · ·A· · ·Yes.                                        13· · · case.
14· · · · · · ·Q· · ·And who ultimately utilized that; was it    14· · · · · · · · · ·(WHEREUPON, the above-referred-to
15· · · you or somebody else?                                    15· · · · · · ·document, Bates-stamped WV-000081 through
16· · · · · · ·A· · ·It was ultimately me.                       16· · · · · · ·WV-000082, was marked as Plaintiff's
17· · · · · · ·Q· · ·In the e-mail which was sent at 8:43 a.m.   17· · · · · · ·Exhibit 9, for identification, as of this
18· · · on January the 6th, Christine seems to mention that      18· · · · · · ·date, displayed by the court reporter, and the
19· · · sometimes a candidate is not a good fit.                 19· · · · · · ·witness was given the opportunity to review
20· · · · · · · · · ·Do you see that?                            20· · · · · · ·the entirety of the document.)
21· · · · · · ·A· · ·I do.                                       21· · · · · · · · · ·(Time noted:· 5:44 p.m.)
22· · · · · · ·Q· · ·Did you have any conversation with her      22· · · · · · ·Q· · ·Okay.· Ms. Freiberg, have you had a
23· · · about what she meant?                                    23· · · chance to review the document which has been marked
24· · · · · · ·A· · ·No, we did not have further conversation    24· · · as Plaintiff's Exhibit Number 9?
25· · · about the content of this e-mail.                        25· · · · · · ·A· · ·I have.

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·What did you understand it to mean when     ·2· · · · · · ·Q· · ·Have you ever seen this document before?
·3· · · she stated that sometimes a candidate is not a good      ·3· · · · · · ·A· · ·I have.
·4· · · fit?                                                     ·4· · · · · · ·Q· · ·Do you recognize this document?
·5· · · · · · · · · ·MR. WARD:· Objection as to form.            ·5· · · · · · ·A· · ·I -- I recognize it.
·6· · · · · · · · · ·You may answer.                             ·6· · · · · · ·Q· · ·At the start of the bottom of the second
·7· · · · · · ·A· · ·What I understood it to mean was that if    ·7· · · page, the page which is marked Bate-stamped WV 82 --
·8· · · her statement of having a wife and not being able to     ·8· · · · · · · · · ·MR. WOLNOWSKI:· You need to scroll up
·9· · · comply with our standards of conduct, that would         ·9· · · · · · ·just a little bit, Ms. Ratner.
10· · · exclude her from being able to work at World Vision.     10· · · · · · · · · ·THE REPORTER:· (Complying)
11· · · · · · ·Q· · ·From your recollection, did that dry run    11· · · · · · ·Q· · ·So this is an e-mail chain between
12· · · RingCentral conversation take place before or after      12· · · Catherine Miolla and Aubry McMahon; correct?
13· · · this January 6 e-mail which was sent to you from         13· · · · · · ·A· · ·Yes.
14· · · Ms. Talbot at 8:43 a.m.?                                 14· · · · · · ·Q· · ·And the first e-mail, which is at the
15· · · · · · ·A· · ·Well, from this e-mail, it would have       15· · · bottom of the second page, is the January 5th e-mail
16· · · occurred before -- like the e-mail would have            16· · · that Aubry sent to Ms. Miolla in which she stated
17· · · occurred before the actual dry run.                      17· · · amongst other things that she and her wife are
18· · · · · · ·Q· · ·Okay.· If you know, Ms. Freiberg, how was   18· · · expecting their first baby in March.
19· · · the rescission of Aubry McMahon's job offer by World     19· · · · · · · · · ·Would you agree?
20· · · Vision Incorporated initially communicated to Aubry      20· · · · · · ·A· · ·I would agree.
21· · · McMahon?                                                 21· · · · · · ·Q· · ·That e-mail was sent January 5th, 2021 at
22· · · · · · ·A· · ·Your question is how the rescission was     22· · · 11:56; correct?
23· · · communicated to Ms. McMahon?                             23· · · · · · ·A· · ·Yes, that is the time that it's
24· · · · · · ·Q· · ·Initially communicated to her --            24· · · date-stamped.
25· · · · · · ·A· · ·It was --                                   25· · · · · · ·Q· · ·And then Catherine Miolla responded to


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · that at 4:59 p.m. on January 5th, according to this      ·2· · · Thursday, January 7th, 2021 at 8:54 a.m. and wrote,
·3· · · e-mail chain; correct?                                   ·3· · · "No problem, Aubry.· How about Friday at 1:00 p.m.
·4· · · · · · ·A· · ·Correct.                                    ·4· · · EST?· If that works for you, I will give you a call
·5· · · · · · ·Q· · ·And in that e-mail, she wrote, "Hi Aubry,   ·5· · · at that time.· Thank you, Catherine."
·6· · · thank you for your e-mail and questions.· Do you have    ·6· · · · · · · · · ·MR. WARD:· Objection as to form.
·7· · · time tomorrow afternoon to discuss by phone?· I have     ·7· · · · · · · · · ·You may answer.
·8· · · a few interviews scheduled, but could give you a call    ·8· · · · · · ·A· · ·I agree that that is Catherine's response
·9· · · around 4:00 p.m. EST, if that would work for you.        ·9· · · to Ms. McMahon.
10· · · Thanks, Catherine."                                      10· · · · · · ·Q· · ·In this e-mail, does Catherine state
11· · · · · · · · · ·That's what that second e-mail states;      11· · · anything about an urgency with which they need to
12· · · correct?                                                 12· · · talk on the telephone?
13· · · · · · ·A· · ·Yes.                                        13· · · · · · · · · ·MR. WARD:· Objection as to form.
14· · · · · · · · · ·MR. WOLNOWSKI:· If you could just scroll    14· · · · · · · · · ·You may answer.
15· · · · · · ·up to the first page.                             15· · · · · · ·A· · ·No, she does not.
16· · · · · · · · · ·THE REPORTER:· (Complying)                  16· · · · · · ·Q· · ·Was there any kind of communication, to
17· · · · · · ·Q· · ·Now, on Wednesday, January 6th, 2021 at     17· · · your knowledge, communicated to Aubry McMahon that if
18· · · 5:40 p.m., Aubry e-mailed Catherine Miolla and wrote,    18· · · she was unable to make that 1:00 p.m. phone call on
19· · · "Hey there, so sorry, I've been crazy busy with my       19· · · Friday, that the offer of employment would be
20· · · sister getting married.· That sounds great.· I can       20· · · rescinded?
21· · · talk on Friday at any point, if you're available."       21· · · · · · ·A· · ·No, that was not communicated.
22· · · · · · · · · ·Do you see that, Ms. Freiberg?              22· · · · · · ·Q· · ·Were there any communications to Aubry
23· · · · · · ·A· · ·I see that.                                 23· · · McMahon either by Catherine Miolla or otherwise which
24· · · · · · ·Q· · ·Were you aware at any point during          24· · · communicated an urgency that they needed to speak
25· · · January 5th or January 8th, 2021 that Ms. McMahon was    25· · · with her by Friday at 1 o'clock p.m.?

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · involved in what appeared to be her sister getting       ·2· · · · · · · · · ·MR. WARD:· Objection as to form.
·3· · · married?                                                 ·3· · · · · · · · · ·You may answer.
·4· · · · · · · · · ·MR. WARD:· Objection as to form.            ·4· · · · · · ·A· · ·There were no specific communications in
·5· · · · · · · · · ·You may answer.                             ·5· · · that way.
·6· · · · · · ·A· · ·I was aware as a result of the contents     ·6· · · · · · ·Q· · ·I'd like to take you to the top of
·7· · · of this e-mail.                                          ·7· · · page 1.
·8· · · · · · ·Q· · ·When did you first see this e-mail that's   ·8· · · · · · · · · ·On January 8th, 2021 at 2 o'clock p.m.,
·9· · · dated January 6th, 2021, which is marked having been     ·9· · · Catherine Miolla e-mailed Aubry McMahon and wrote,
10· · · sent at 5:40 p.m.?                                       10· · · "Aubry, since our communication on Tuesday, I've
11· · · · · · ·A· · ·I -- I'm not sure of the exact date and     11· · · tried several times to get in touch with you to
12· · · time.                                                    12· · · discuss a discrepancy in your interview responses.
13· · · · · · ·Q· · ·Did the fact that Aubry represented that    13· · · Since I have not heard back from you to resolve the
14· · · she's been, in her words, "crazy busy" with her          14· · · discrepancy, I'm rescinding the job offer that was
15· · · sister getting married have any impact on the urgency    15· · · extended to you on Monday, January the 4th.· I wish
16· · · with which the folks at World Vision Incorporated        16· · · you all the best in your future endeavors.
17· · · needed to speak with her?                                17· · · Catherine."
18· · · · · · · · · ·MR. WARD:· I'm going to object as to        18· · · · · · · · · ·Do you see that, Ms. Freiberg?
19· · · · · · ·form.                                             19· · · · · · ·A· · ·I do see that.
20· · · · · · ·A· · ·Well, it's her -- her response that she     20· · · · · · ·Q· · ·Is it fair to say that in this e-mail
21· · · was very busy and that she could speak on Friday was     21· · · dated January 8th, 2021 at 2 o'clock p.m., that
22· · · granted to her, so we took that into advisement and      22· · · Ms. Miolla notified Aubry McMahon that the job offer
23· · · agreed to speak with her on Friday.                      23· · · extended to her by World Vision Incorporated had
24· · · · · · ·Q· · ·In fact, in response to this e-mail,        24· · · indeed been rescinded?
25· · · isn't it correct that Catherine Miolla e-mailed Aubry    25· · · · · · · · · ·MR. WARD:· Objection as to form.


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·You may answer.                             ·2· · · · · · · · · ·MR. WARD:· Object as to form.
·3· · · · · · ·A· · ·Yes, I agree.                               ·3· · · · · · · · · ·You may answer.
·4· · · · · · ·Q· · ·Now, I believe you already testified to     ·4· · · · · · ·A· · ·Yeah.· So it would be in the afternoon
·5· · · this, but having reviewed this document, does it         ·5· · · after this time; after 2:00 p.m.
·6· · · refresh your recollection as to whether or not the       ·6· · · · · · ·Q· · ·Approximately how long did the
·7· · · failure to have heard back from Aubry was a factor in    ·7· · · conversation last?
·8· · · World Vision's determination to terminate the --         ·8· · · · · · ·A· · ·I would say somewhere within five -- five
·9· · · excuse me, not to terminate, but to rescind the offer    ·9· · · to ten minutes, perhaps.
10· · · of employment extended to her by World Vision            10· · · · · · ·Q· · ·If you can recall, please tell me all --
11· · · Incorporated?                                            11· · · the names of all the participants on that phone call
12· · · · · · · · · ·MR. WARD:· Objection as to form.            12· · · to your knowledge.
13· · · · · · · · · ·You may answer.                             13· · · · · · ·A· · ·Participants on that call were Catherine
14· · · · · · ·A· · ·Well, I believe I've already answered       14· · · Miolla, Melanie Freiberg, Aubry McMahon.
15· · · this in stating that there were multiple reasons --      15· · · · · · ·Q· · ·Anybody else, to your knowledge or
16· · · there was more than one reason for rescinding the        16· · · recollection?
17· · · offer, the first of which was because despite            17· · · · · · ·A· · ·No.
18· · · multiple attempts to reach Ms. McMahon, we were          18· · · · · · ·Q· · ·If you can, Ms. Freiberg, please tell me
19· · · unable to do so, and therefore, relied on her written    19· · · everything you can remember about that telephone
20· · · e-mail on face value.                                    20· · · call.
21· · · · · · ·Q· · ·To your knowledge, do you know if, after    21· · · · · · ·A· · ·So I began -- so my recollection is that
22· · · this e-mail, anybody on behalf of World Vision ever      22· · · I began speaking.· I -- I believe I congratulated
23· · · spoke on the telephone with Aubry McMahon relating to    23· · · Ms. McMahon on being -- you know, being about to --
24· · · the rescission of the offer of employment?               24· · · to have a baby.· I asked her about her e-mail and
25· · · · · · ·A· · ·Yes.· On January 8, following this          25· · · whether she intended to say that -- she intended

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · e-mail, Catherine and I spoke with Ms. McMahon.          ·2· · · to -- to use the term "wife."· And then I asked --
·3· · · · · · ·Q· · ·And with respect to that telephone call,    ·3· · · I -- I reread her the -- the section of the script,
·4· · · do you recall when it took place, give or take?          ·4· · · and reread that section to her to describe what the
·5· · · · · · ·A· · ·I don't recall the time.                    ·5· · · examples were of conduct that were not acceptable or
·6· · · · · · ·Q· · ·Would you say that it happened in the       ·6· · · that -- yeah, were not acceptable.· And then I read
·7· · · morning?                                                 ·7· · · the question to her that included the question about
·8· · · · · · ·A· · ·I would not say that it happened in the     ·8· · · would she comply with those standards of conduct, and
·9· · · morning.                                                 ·9· · · then I read her response to her and I asked her if
10· · · · · · ·Q· · ·Would you say that it happened in the       10· · · that was accurate.
11· · · afternoon?                                               11· · · · · · ·Q· · ·Okay.· You told me a lot there about what
12· · · · · · ·A· · ·Yes.                                        12· · · you said during that telephone call.
13· · · · · · ·Q· · ·To the best of your recollection, would     13· · · · · · · · · ·If you could please tell me what either
14· · · you say that it happened in the afternoon before         14· · · Aubry McMahon said or Catherine Miolla said.
15· · · 3 o'clock p.m.?                                          15· · · · · · ·A· · ·Aubry McMahon confirmed that she was
16· · · · · · ·A· · ·You know, it -- it could --                 16· · · referencing her wife.· And when I read the section of
17· · · · · · · · · ·MR. WARD:· Objection as to form.            17· · · the script to her, including her response of "I'm
18· · · · · · · · · ·You may answer.                             18· · · aligned," she did not disagree.
19· · · · · · ·A· · ·We could confirm that, because there's, I   19· · · · · · ·Q· · ·Did she give any explanation as to that
20· · · believe, another e-mail from Ms. McMahon where she       20· · · section, or did she give any kind of further
21· · · replies to -- to Catherine, so it would be after that    21· · · discussion as it related to that?
22· · · time.                                                    22· · · · · · · · · ·MR. WARD:· Objection as to form.
23· · · · · · ·Q· · ·Well, I'm asking you from your              23· · · · · · · · · ·You may answer.
24· · · recollection.· Not what a document may or may not        24· · · · · · ·A· · ·Her response, though I don't know the
25· · · say.                                                     25· · · word for word, but it was along the lines of, I


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · understood that, but I thought if I was okay to work     ·2· · · telephone call that you can remember was discussed?
·3· · · for an organization that believed what World Vision      ·3· · · · · · ·A· · ·Not that I can remember, but I'm happy to
·4· · · believes, then that would be sufficient.· So again,      ·4· · · answer any questions you might have.
·5· · · these are not exact words, but it's the gist of her      ·5· · · · · · ·Q· · ·My only question right now is whether or
·6· · · response.                                                ·6· · · not there's anything else from that phone call that
·7· · · · · · ·Q· · ·Was that a satisfactory response, in your   ·7· · · you can remember that was said between any of the
·8· · · opinion?                                                 ·8· · · people who participated in the call?
·9· · · · · · · · · ·MR. WARD:· Objection as to form.            ·9· · · · · · ·A· · ·Then I do not.
10· · · · · · · · · ·You may answer.                             10· · · · · · ·Q· · ·Did you make a recording of that
11· · · · · · ·A· · ·It was satisfactory in the sense that it    11· · · telephone call?
12· · · confirmed that the phone screen was not correct, that    12· · · · · · ·A· · ·No.· It isn't legal in Washington State
13· · · she was not in alignment with our standards of           13· · · to record somebody without their consent.
14· · · conduct.                                                 14· · · · · · ·Q· · ·Do you know if World Vision made a
15· · · · · · ·Q· · ·And so is it possible that somebody could   15· · · recording of that phone call?
16· · · be in alignment with the standards of conduct as it      16· · · · · · ·A· · ·World Vision did not record that call.
17· · · relates to same-sex marriage, but yet be in a            17· · · · · · ·Q· · ·Did you ever come to learn that someone
18· · · same-sex marriage?                                       18· · · had recorded at least a portion of that phone call?
19· · · · · · · · · ·MR. WARD:· Objection as to form.            19· · · · · · ·A· · ·I did come to learn that Aubry recorded
20· · · · · · ·A· · ·It would not be possible in a same-sex      20· · · that without my consent.
21· · · marriage to comply with the expectation surrounding      21· · · · · · ·Q· · ·Did Catherine Miolla speak at all during
22· · · marriage.                                                22· · · that telephone call in which you, Aubry, and her were
23· · · · · · ·Q· · ·Aside from what you've just told me as it   23· · · participants?
24· · · relates to what you said during this telephone call      24· · · · · · ·A· · ·I believe Catherine introduced me
25· · · and what Aubry McMahon said during this telephone        25· · · initially, but I -- Catherine did not say anything

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · call, what else was said, if at all, that you can        ·2· · · further other than possibly goodbye.
·3· · · remember?                                                ·3· · · · · · ·Q· · ·I would like to show you or produce for
·4· · · · · · ·A· · ·I remember questions on her part about      ·4· · · you what will be marked as Plaintiff's Exhibit 10.
·5· · · whether, you know, the offer was rescinded because       ·5· · · It is an MP3 file which has been exchange during
·6· · · she was gay, whether the offer was rescinded because     ·6· · · discovery in this case bearing file name IMG,
·7· · · she was in a same-sex marriage, about World Vision's     ·7· · · underscore, 5098, space, 3.
·8· · · ability to legally do that, so there were -- there       ·8· · · · · · · · · ·(WHEREUPON, the above-referred-to
·9· · · were questions along those lines.                        ·9· · · · · · ·document, IMG_5098 3.mps, was deemed marked as
10· · · · · · ·Q· · ·And from your recollection, how did you     10· · · · · · ·Plaintiff's Exhibit 3, for identification, as
11· · · answer each of those questions?                          11· · · · · · ·of this date.)
12· · · · · · ·A· · ·I attempted to respond to the questions     12· · · · · · · · · ·MR. WOLNOWSKI:· We're off the record.
13· · · in a way that described that World Vision, as a          13· · · · · · · · · ·(Discussion held off the record)
14· · · religious organization, could require certain            14· · · · · · · · · ·(WHEREUPON, the audio, what was deemed
15· · · expectations surrounding faith as well as conduct        15· · · · · · ·marked Plaintiff's Exhibit 10, was played and
16· · · standards -- and I'm just trying to think about other    16· · · · · · ·transcribed as follows:)
17· · · things I said.· That -- you know, that ultimately the    17· · · · · · · · · ·"SPEAKER 1:· Yeah, I understand.· So, um,
18· · · offer was not rescinded because she was gay or           18· · · · · · ·the offer's being -- what's that word?· Sorry.
19· · · because she was in a same-sex marriage, but it was       19· · · · · · · · · ·"SPEAKER 2:· Basically, pulled back.
20· · · because that her conduct would not -- would not          20· · · · · · · · · ·"SPEAKER 1:· Okay.· Is -- is that because
21· · · comply with our standards of conduct.                    21· · · · · · ·I'm in a same-sex relationship?
22· · · · · · ·Q· · ·And this is what you -- you told her;       22· · · · · · · · · ·"SPEAKER 2:· Well, it is because, um, the
23· · · correct?                                                 23· · · · · · ·standards of conduct, yeah, are to not have
24· · · · · · ·A· · ·Yes.                                        24· · · · · · ·any sexual con- -- conduct outside of
25· · · · · · ·Q· · ·Is there anything else from that            25· · · · · · ·marriage, and marriage is defined as being


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·between a man and a woman.· So that's --          ·2· · · · · · ·A· · ·Yes, I agree with that.
·3· · · · · · ·that's the behavior that all employees have to    ·3· · · · · · ·Q· · ·So based on this recording, to your
·4· · · · · · ·comply with.                                      ·4· · · understanding, was the offer of employment made to
·5· · · · · · · · · ·"SPEAKER 1:· Okay.· I understand."          ·5· · · Aubry McMahon by World Vision Incorporated rescinded
·6· · · · · · ·Q· · ·Ms. Freiberg, were you able to hear that?   ·6· · · because she was LGBTQ, because she was in a same-sex
·7· · · · · · ·A· · ·Yes.                                        ·7· · · marriage, or for some other reason?
·8· · · · · · ·Q· · ·Did you recognize this audio file?          ·8· · · · · · · · · ·MR. WARD:· Objection as to form.
·9· · · · · · ·A· · ·Yes.                                        ·9· · · · · · ·A· · ·The reason that the offer was rescinded
10· · · · · · ·Q· · ·Have you heard it before?                   10· · · was for multiple reasons.· The first, because we were
11· · · · · · ·A· · ·Yes.                                        11· · · unable to reach her; and the second -- and unable to
12· · · · · · · · · ·MR. WOLNOWSKI:· I'm going to go off the     12· · · reach her, and therefore concluded her e-mail was
13· · · · · · ·record for a moment.                              13· · · correct; and secondly, that she was not able to abide
14· · · · · · · · · ·(Discussion held off the record)            14· · · by our standards of conduct as she had previously
15· · · · · · ·Q· · ·So, Ms. Freiberg, I can represent that      15· · · disclosed she could.
16· · · the audio in question that I just played for you         16· · · · · · ·Q· · ·And the reason that she could not abide
17· · · which is moved and marked as Plaintiff's Exhibit 10      17· · · by the standards of conduct was because she was in a
18· · · is an audio file, namely, an MP3, which is 35 seconds    18· · · same-sex marriage; is that correct?
19· · · in length, and I will read what was said -- well,        19· · · · · · · · · ·MR. WARD:· Objection as to form.
20· · · before I do that, though, let me ask you.                20· · · · · · ·A· · ·Yes, that is correct.
21· · · · · · · · · ·Who were the two people speaking in this    21· · · · · · ·Q· · ·So, Ms. Freiberg, was it because Aubry
22· · · audio recording?                                         22· · · McMahon was in violation of World Vision
23· · · · · · ·A· · ·The two people speaking were Aubry          23· · · Incorporated's standards of conduct for employees as
24· · · McMahon and myself, Melanie Freiberg.                    24· · · they related to her being in a same-sex marriage that
25· · · · · · ·Q· · ·And what was said is the following:         25· · · this disqualified her from working for World Vision

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · · · · ·Aubry:· "I understand.· So, um, the offer   ·2· · · Incorporated?
·3· · · is being -- what's that word?· Sorry."                   ·3· · · · · · · · · ·MR. WARD:· Objection as to form.· It's
·4· · · · · · · · · ·To which you responded:· "Basically,        ·4· · · · · · ·been asked and answered, I think.
·5· · · pulled back."                                            ·5· · · · · · · · · ·But you may answer.
·6· · · · · · · · · ·Aubry:· "Okay.· Is that because I'm in a    ·6· · · · · · ·A· · ·Yes, I think I've already answered that.
·7· · · same-sex relationship?"                                  ·7· · · Yes, that -- that is a correct statement.
·8· · · · · · · · · ·You:· "Well, it's because, um, the          ·8· · · · · · · · · ·And if I may elaborate, you know, World
·9· · · standards of conduct, yeah, are to, um, not have any     ·9· · · Vision believes that marriage is ordained by God and
10· · · sexual conduct outside of marriage, and marriage is      10· · · is a biblical covenant between a man and a woman, and
11· · · defined as being between a man and a woman, so that's    11· · · that sexual conduct occurs within that biblical
12· · · the behavior that all employees have to comply with."    12· · · covenant of marriage; and therefore, being in a
13· · · · · · · · · ·To which Aubry responds:· "Okay. I          13· · · same-sex marriage would preclude her from being able
14· · · understand."                                             14· · · to comply with our standards of conduct.
15· · · · · · · · · ·Ms. Freiberg, is that your understanding    15· · · · · · ·Q· · ·And, in fact, did preclude her; correct?
16· · · of the telephone call or the portion thereof that was    16· · · · · · ·A· · ·Yes.
17· · · just played for you?                                     17· · · · · · ·Q· · ·In the audio that I just played for you,
18· · · · · · ·A· · ·That is my understanding of the recording   18· · · you don't mention anything about the inability to
19· · · that was made without my consent, yes.                   19· · · reach her or the lack of promptness in her responding
20· · · · · · ·Q· · ·Would you agree that, as stated to Aubry    20· · · to e-mails to connect on a call as being a reason for
21· · · McMahon in this audio recording, that one reason the     21· · · the rescission of her job offer; is that correct?
22· · · offer of employment made by World Vision Incorporated    22· · · · · · · · · ·MR. WARD:· I'm going to object as to
23· · · to her was being rescinded was because she was in a      23· · · · · · ·form, and I'm going to object -- I think it's
24· · · same-sex marriage?                                       24· · · · · · ·a misrepresentation.
25· · · · · · · · · ·MR. WARD:· Objection as to form.            25· · · · · · ·Q· · ·You can answer the question if you


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · understand it, Ms. Freiberg.                             ·2· · · · · · ·document.)
·3· · · · · · ·A· · ·You know, ultimately, what was most         ·3· · · · · · · · · ·(Time noted:· 6:20 p.m.)
·4· · · material, it was the inability to comply with our        ·4· · · · · · · · · ·THE WITNESS:· Okay.· I've read it.
·5· · · standards of conduct.· So the rescission was on the      ·5· · · · · · ·Q· · ·Ms. Freiberg, do you recognize the
·6· · · basis of, without further contact with her, we           ·6· · · document that I've just shown you?
·7· · · rescinded the offer; but once we had the confirming      ·7· · · · · · ·A· · ·I do.
·8· · · information, the decision was -- was sound, it -- it     ·8· · · · · · ·Q· · ·Have you ever seen it before?
·9· · · remained in -- in force.                                 ·9· · · · · · ·A· · ·I have.
10· · · · · · ·Q· · ·But my question, I think, is a little       10· · · · · · ·Q· · ·Can you explain to me what it is?
11· · · more specific, so let me ask it a different way.         11· · · · · · ·A· · ·It is our standards of conduct document
12· · · · · · · · · ·In the audio recording that I just played   12· · · that is attached to our business ethics and Christian
13· · · for you, did you say anything about her                  13· · · conduct policy.
14· · · nonresponsiveness to e-mails as a reason for the         14· · · · · · ·Q· · ·When you say "our," are you referring to
15· · · rescission of the job offer?                             15· · · World Vision Incorporated?
16· · · · · · · · · ·MR. WARD:· Counsel, I'm going to object.    16· · · · · · ·A· · ·Yes.
17· · · · · · ·That's argumentative, that's misrepresenting,     17· · · · · · ·Q· · ·Was this document the standards of
18· · · · · · ·and I'm going to object as to form.               18· · · conduct for which all employees of World Vision
19· · · · · · · · · ·MR. WOLNOWSKI:· Any others?                 19· · · Incorporated were required to conduct themselves as
20· · · · · · · · · ·MR. WARD:· I may have a few if I think      20· · · of January of 2021?
21· · · · · · ·about it, but let's be honest, Casey, you're      21· · · · · · ·A· · ·Yes.
22· · · · · · ·misrepresenting --                                22· · · · · · ·Q· · ·I'd like to direct your attention to the
23· · · · · · · · · ·MR. WOLNOWSKI:· Please, just call me        23· · · second paragraph of the first page.
24· · · · · · ·counselor on the record.                          24· · · · · · · · · ·MR. WOLNOWSKI:· Teri, if you could just
25· · · · · · · · · ·If she understands the question, she can    25· · · · · · ·scroll up for me when you have a moment.

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·answer.                                           ·2· · · · · · · · · ·THE REPORTER:· (Complying)
·3· · · · · · ·A· · ·So I did not mention anything about not     ·3· · · · · · ·Q· · ·I'd like to direct your attention to the
·4· · · being able to get in touch with her in that              ·4· · · portion of the second paragraph that states -- it's
·5· · · discussion that we had on January 8th.                   ·5· · · in the middle -- "Therefore, all staff represent
·6· · · · · · ·Q· · ·I'd like to show you what will be marked    ·6· · · WVUS, and more importantly, to Gospel of Jesus
·7· · · as Plaintiff's Exhibit 11.                               ·7· · · Christ, in their work as well as in their private
·8· · · · · · · · · ·(WHEREUPON, the above-referred-to           ·8· · · lives."
·9· · · · · · ·document, Bates-stamped WV-000035 through         ·9· · · · · · · · · ·With respect to this sentence, in
10· · · · · · ·WV-000036, was marked as Plaintiff's              10· · · January of 2021, to your knowledge, was being
11· · · · · · ·Exhibit 11, for identification, as of this        11· · · non-Christian a disqualifier as it related to become
12· · · · · · ·date, and was displayed by the court              12· · · employed with World Vision Incorporated?
13· · · · · · ·reporter.)                                        13· · · · · · · · · ·MR. WARD:· Objection as to form.
14· · · · · · · · · ·MR. WARD:· Counsel, what are the Bates      14· · · · · · ·A· · ·Yes.
15· · · · · · ·numbers on this, please?                          15· · · · · · ·Q· · ·I'd like to direct your attention to the
16· · · · · · · · · ·MR. WOLNOWSKI:· Exhibit -- Plaintiff's      16· · · first sentence of the third paragraph.· It starts
17· · · · · · ·Exhibit 11 bears Bate-stamp numbers WV 35 and     17· · · with the words, "Through life," and reads, "Through
18· · · · · · ·36.· I will represent this is a document that     18· · · life, word, and deed, WVUS staff must be committed to
19· · · · · · ·was exchanged during the discovery phase of       19· · · glorifying God and witnessing His love in the person
20· · · · · · ·litigation.                                       20· · · of His son Jesus Christ in all aspects of their lives
21· · · · · · ·Q· · ·If you could, Ms. Freiberg, please review   21· · · and work, calling others to a life-changing
22· · · and let me know once you've completed.                   22· · · commitment to serve the poor in the name of Christ."
23· · · · · · ·A· · ·Okay.                                       23· · · · · · · · · ·With respect to this sentence, I ask, to
24· · · · · · · · · ·(WHEREUPON, the witness was given the       24· · · your knowledge in January of 2021, was it the
25· · · · · · ·opportunity to review the entirety of the         25· · · position of World Vision Incorporated that gay people


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · were incapable of this by virtue of their lifestyle?     ·2· · · heading states, "Does WVUS have the right to have
·3· · · · · · · · · ·MR. WARD:· I'm going to object to form,     ·3· · · such standards that address my behavior outside as
·4· · · · · · ·to the extent it calls for a legal conclusion,    ·4· · · well as during my work hours?"
·5· · · · · · ·and foundation, frankly.                          ·5· · · · · · · · · ·And underneath it, it responds, "Yes, it
·6· · · · · · ·Q· · ·Do you understand the question,             ·6· · · does under decades of well-established law.· The
·7· · · Ms. Freiberg?                                            ·7· · · religious freedom guaranteed in the First Amendment
·8· · · · · · ·A· · ·Do I -- I need to answer that question?     ·8· · · to the U.S. Constitution as well as a number of
·9· · · · · · ·Q· · ·Yes, please.· And do so truthfully.         ·9· · · federal statutes, including the Civil Rights Act of
10· · · · · · · · · ·MR. WARD:· To the extent you understand     10· · · 1964, guarantee that a church or religious
11· · · · · · ·it and have knowledge -- factual knowledge,       11· · · association such as WVUS has the right to consider
12· · · · · · ·you can answer it.                                12· · · religious criteria in employment matters.· This
13· · · · · · · · · ·MR. WOLNOWSKI:· Please -- okay.· Your       13· · · includes the right to set and apply to job applicants
14· · · · · · ·speaking objection is now serving as a            14· · · and employees standards of conduct that are based on
15· · · · · · ·function to coach the witness.· Please.           15· · · sincere religious belief."
16· · · · · · · · · ·MR. WARD:· I disagree, Counsel, but if --   16· · · · · · · · · ·In light of this section, Ms. Freiberg,
17· · · · · · ·if you'd like to --                               17· · · to your knowledge, in January of 2021, did this
18· · · · · · · · · ·MR. WOLNOWSKI:· Thank you.                  18· · · section apply to applicants or employees for World
19· · · · · · · · · ·MR. WARD:· -- you could ask --              19· · · Vision Incorporated for all positions regardless of
20· · · · · · · · · ·MR. WOLNOWSKI:· Thank you.                  20· · · duties or title?
21· · · · · · · · · ·MR. WARD:· -- the witness --                21· · · · · · ·A· · ·Yes.· The standards of conduct, including
22· · · · · · · · · ·MR. WOLNOWSKI:· If the witness              22· · · number 2, apply to all employees.
23· · · · · · ·understands the question, she can respond.        23· · · · · · ·Q· · ·I'd like to direct your attention now to
24· · · · · · ·Q· · ·Do you understand the question,             24· · · number 3 on that page.
25· · · Ms. Freiberg?                                            25· · · · · · · · · ·MR. WOLNOWSKI:· If you could please

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·A· · ·Can I ask Teri to please reread it?         ·2· · · · · · ·scroll a little bit up, Ms. Ratner.
·3· · · · · · · · · ·MR. WOLNOWSKI:· Yes, you may.               ·3· · · · · · · · · ·THE REPORTER:· (Complying)
·4· · · · · · · · · ·Teri, please reread it at your earliest     ·4· · · · · · ·Q· · ·Have you had a chance to read section 3,
·5· · · · · · ·convenience.                                      ·5· · · Ms. Freiberg --
·6· · · · · · · · · ·(WHEREUPON, the previous question was       ·6· · · · · · ·A· · ·Yes.· I read it --
·7· · · · · · ·read by the court reporter.)                      ·7· · · · · · ·Q· · ·-- in its entirety?
·8· · · · · · · · · ·MR. WARD:· Repeat all the same              ·8· · · · · · ·A· · ·I read it initially, yes.
·9· · · · · · ·objections.                                       ·9· · · · · · ·Q· · ·I'd like to direct your attention to
10· · · · · · ·A· · ·I don't think I can answer that question.   10· · · "Examples of certain behaviors," and there is a
11· · · You know what I'm --                                     11· · · section that includes a number of bullet points.· I'd
12· · · · · · ·Q· · ·Why do you think -- go ahead, I'm sorry.    12· · · like to direct your attention to the third bullet
13· · · · · · ·A· · ·Yeah.· I think what I'm qualified to        13· · · point going from bottom to top that state, "Sexual
14· · · answer is what is required to work at World Vision,      14· · · conduct outside the biblical covenant of marriage
15· · · but ultimately, I'm not in a position to describe,       15· · · between a man and a woman."
16· · · you know, what World Vision believes people can or       16· · · · · · ·A· · ·Okay.
17· · · cannot do.· I know that World Vision -- you know,        17· · · · · · ·Q· · ·To your knowledge, in January of 2021,
18· · · we -- we love and serve all people, just as Jesus        18· · · did this bullet point regard sexual conduct outside
19· · · did.· What -- what my role is, is to apply our           19· · · marriage, being in a same-sex marriage, or both?
20· · · standards of conduct against, you know, our current      20· · · · · · · · · ·MR. WARD:· Objection as to form.
21· · · and future staff.                                        21· · · · · · ·A· · ·Well, this bullet applies to all people
22· · · · · · ·Q· · ·I'd like to direct your attention to the    22· · · regardless of their sexual orientation.· It says that
23· · · second page.                                             23· · · sexual conduct outside of the biblical covenant is
24· · · · · · · · · ·THE REPORTER:· (Complying)                  24· · · between a man and a woman, you know, does not comply.
25· · · · · · ·Q· · ·Under number 2, of which the subject        25· · · So it applies also to heterosexual people.


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·Ms. Freiberg, I'd like to show you what     ·2· · · experience as being a member of the HR team, do you
·3· · · will be marked as Plaintiff's Exhibit 12.· This is a     ·3· · · know whether or not these additions existed for the
·4· · · document which was -- is Bate-stamped WV 35 to 36. A     ·4· · · position of customer service representative for World
·5· · · document which was exchanged during the discovery        ·5· · · Vision Incorporated in January of 2021?
·6· · · phase of this litigation.                                ·6· · · · · · ·A· · ·Your question was whether -- what -- did
·7· · · · · · · · · ·MR. WARD:· I'm sorry, Counselor, did you    ·7· · · you say "addition"?
·8· · · · · · ·say 35 to 36?                                     ·8· · · · · · ·Q· · ·No, conditions.
·9· · · · · · · · · ·Yeah, this is 35 to 36.                     ·9· · · · · · ·A· · ·Oh, conditions.
10· · · · · · · · · ·MR. WOLNOWSKI:· Yes.· My apologies.         10· · · · · · · · · ·There is nothing that I read that
11· · · · · · ·That's an error on my part.                       11· · · appeared inconsistent, so I -- I -- I agree with that
12· · · · · · · · · ·To clarify the record, Plaintiff's          12· · · to the extent that I've seen this document.
13· · · · · · ·Exhibit 12 is actually documents Bate-stamped     13· · · · · · ·Q· · ·I'd like to direct your attention to the
14· · · · · · ·WV 2852 to 2853.                                  14· · · second page.· It starts with the heading, "Employment
15· · · · · · ·Q· · ·Ms. Freiberg, please review the document    15· · · and Sexual Orientation."
16· · · presented to you as Plaintiff's Exhibit 12, and let      16· · · · · · · · · ·THE REPORTER:· (Complying)
17· · · me know once you've completed doing so.                  17· · · · · · ·Q· · ·I'd like to read it into the record.
18· · · · · · · · · ·(WHEREUPON, the above-referred-to           18· · · Under this heading, it states, "We don't ask
19· · · · · · ·document, Bates-stamped WV-002852 through         19· · · preemployment questions surrounding one's sexual
20· · · · · · ·WV-002853, was marked as Plaintiff's              20· · · orientation during the applicant process.· We don't
21· · · · · · ·Exhibit 12, for identification, as of this        21· · · exclude from employment those with a same-sex
22· · · · · · ·date, displayed by the court reporter, and the    22· · · orientation.· We do expect that all employees,
23· · · · · · ·witness was given the opportunity to review       23· · · regardless of orientation, abide by our standards of
24· · · · · · ·the entirety of the document.)                    24· · · conduct, which among other things, requires employees
25· · · · · · · · · ·(Time noted:· 6:35 p.m.)                    25· · · to remain abstinent outside of marriage between a man

                                                   Page 119                                                         Page 121
·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · · · · ·Q· · ·Ms. Freiberg, have you had an opportunity   ·2· · · and a woman.
·3· · · to review the document which has been marked as          ·3· · · · · · · · · ·"We honor employees' privacy, assume the
·4· · · Plaintiff's Exhibit Number 12?                           ·4· · · best about their commitments to abide by our
·5· · · · · · ·A· · ·I have.                                     ·5· · · standards of conduct, and don't look for involvement
·6· · · · · · ·Q· · ·Have you ever seen this document before?    ·6· · · in the private lives of individuals.· We take
·7· · · · · · ·A· · ·No, I have not.                             ·7· · · employees at their word in matters of their privates
·8· · · · · · ·Q· · ·After having reviewed it and having a       ·8· · · lives, unless we have facts to the contrary.· Our
·9· · · familiarity with the hiring practices of World Vision    ·9· · · response to potential violations of our standards of
10· · · Incorporated in general, does this document              10· · · conduct that come to our attention is to first ask
11· · · accurately reflect the hiring practices of World         11· · · employees about the situation and treat our employees
12· · · Vision Incorporated as they existed in January of        12· · · with sensitivity, discretion, and care, along with
13· · · 2021?                                                    13· · · providing an opportunity to align with our standards
14· · · · · · ·A· · ·Yes.                                        14· · · of conduct."
15· · · · · · ·Q· · ·Does this document regard individuals       15· · · · · · · · · ·With respect to approaching the situation
16· · · seeking employment in the position of customer           16· · · involving the inconsistencies as they related to
17· · · service representative for World Vision Incorporated     17· · · Aubry McMahon's application materials, would you say
18· · · in January of 2021?                                      18· · · that you, Ms. Freiberg, followed this section of the
19· · · · · · · · · ·MR. WARD:· Objection as to form and         19· · · hiring practices document that I've showed you?
20· · · · · · ·foundation.                                       20· · · · · · · · · ·MR. WARD:· Objection as to form and
21· · · · · · · · · ·You may answer.                             21· · · · · · ·foundation.
22· · · · · · ·A· · ·I can only say that at the top of the       22· · · · · · ·A· · ·Well, I guess I -- I would just remind
23· · · document, it says, Hiring Practices, Donor Contact       23· · · you that I was not a recruiter in the recruitment of
24· · · Services, dash, Confluence.                              24· · · Ms. McMahon.· Catherine Miolla was.· So I believe she
25· · · · · · ·Q· · ·So based upon your knowledge and            25· · · followed the requirements that are in line with the


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · document and what you've just read.                      ·2· · · · · · ·Q· · ·So what if somebody were gay but married
·3· · · · · · ·Q· · ·So according to this document, it appears   ·3· · · to somebody of the opposite sex, would that be a
·4· · · to me that World Vision Incorporated allows the          ·4· · · disqualifier -- or rather -- let me strike that.· Let
·5· · · employment of LGBTQ individuals, but if somebody is      ·5· · · me rephrase.
·6· · · in a same-sex marriage, this would be a disqualifier     ·6· · · · · · · · · ·What if somebody were gay but married to
·7· · · for employment with World Vision Incorporated.           ·7· · · somebody from the opposite sex, would they be -- have
·8· · · · · · · · · ·Would you agree with that interpretation?   ·8· · · been able to work for World Vision Incorporated in
·9· · · · · · · · · ·MR. WARD:· So I'm going to object as to     ·9· · · January of 2021?
10· · · · · · ·form, and as to prior testimony, and as to        10· · · · · · · · · ·MR. WARD:· Objection as to form.
11· · · · · · ·foundation.                                       11· · · · · · ·A· · ·An individual can work for World Vision
12· · · · · · · · · ·MR. WOLNOWSKI:· I have not asked her        12· · · so long as their conduct remains -- their sexual
13· · · · · · ·about this document prior to this line of         13· · · conduct remains within a covenant of marriage between
14· · · · · · ·questioning.                                      14· · · a man and a woman.· So in your example, the person
15· · · · · · · · · ·MR. WARD:· No, but she said she hasn't      15· · · may be gay, but their sexual activity was confined to
16· · · · · · ·seen this document before.                        16· · · the spouse that they had of the opposite gender.
17· · · · · · ·Q· · ·Do you understand the question,             17· · · · · · ·Q· · ·So is the policy as it relates to
18· · · Ms. Freiberg?                                            18· · · same-sex marriage born out of prohibition of sexual
19· · · · · · ·A· · ·I believe so.                               19· · · conduct with another person, or is it born out of
20· · · · · · ·Q· · ·Okay.                                       20· · · being contrary to a traditional man-woman marriage?
21· · · · · · ·A· · ·So maybe the best way is just for me to     21· · · · · · · · · ·MR. WARD:· I'm going to object as to
22· · · state World Vision's practice or approach.· So World     22· · · · · · ·form.
23· · · Vision does not preclude an LGBTQ employee from          23· · · · · · · · · ·You may answer.
24· · · working at World Vision so long as they can comply       24· · · · · · ·A· · ·Well, the first part of the sentence in
25· · · with our standards of conduct.· And as we've looked      25· · · our conduct expectation is about sexual conduct.· So

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · before, that means that sexual conduct occurs within     ·2· · · it's that sexual conduct occurs within marriage, and
·3· · · the biblical covenant of marriage.· And marriage is      ·3· · · then marriage is further defined as being between a
·4· · · between a man and a woman.· So --                        ·4· · · man and a woman.
·5· · · · · · ·Q· · ·So if -- I'm sorry, go ahead.               ·5· · · · · · ·Q· · ·So it's fair to say that it's -- in
·6· · · · · · ·A· · ·Yeah.· So it's the conduct expectation      ·6· · · essence, covers two different types of conduct; is
·7· · · versus the status of someone -- someone's orientation    ·7· · · that correct?
·8· · · that is the behavior that precludes them from            ·8· · · · · · · · · ·MR. WARD:· Objection as to form.
·9· · · employment at World Vision.                              ·9· · · · · · · · · ·You may answer.
10· · · · · · ·Q· · ·So if somebody is gay, that's not a         10· · · · · · ·A· · ·Yeah, it -- it -- I think the way I think
11· · · disqualifier to work at World Vision in January of       11· · · about it is that it covers the sexual conduct first,
12· · · 2021; correct?                                           12· · · and then defines marriage to supplement that
13· · · · · · ·A· · ·That is correct.                            13· · · definition.
14· · · · · · ·Q· · ·However, if somebody were gay and married   14· · · · · · ·Q· · ·Understood.
15· · · to a person of the same sex as them, that would serve    15· · · · · · · · · ·If Aubry McMahon had been male and
16· · · as a disqualifier to work for World Vision               16· · · married to a woman, would she have been in violation
17· · · Incorporated in January of 2021; is that correct?        17· · · of World Vision Incorporation standards of conduct
18· · · · · · · · · ·MR. WARD:· Objection.· Objection as to      18· · · for employees?
19· · · · · · ·form.                                             19· · · · · · · · · ·MR. WARD:· Objection as to form.
20· · · · · · · · · ·You may answer.                             20· · · · · · · · · ·You may answer.
21· · · · · · ·A· · ·It does on the basis that World Vision's    21· · · · · · ·A· · ·If Aubry McMahon was a man married to a
22· · · belief of marriage is between a man and a woman, and     22· · · woman and engaging in sexual conduct, that would not
23· · · that sexual conduct occurs within marriage.· And so      23· · · be in violation of our standards of conduct.
24· · · it is on that basis that someone in a same-sex           24· · · · · · ·Q· · ·If Aubry McMahon had been a male and
25· · · marriage would be disqualified.                          25· · · married to a woman, would the offer of employment


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · extended to her on about January 5th, 2021 been          ·2· · · that question.· I -- I have not encountered that
·3· · · rescinded by World Vision Incorporated?                  ·3· · · situation, so I would be seeking guidance.
·4· · · · · · · · · ·MR. WARD:· Objection as to form.            ·4· · · · · · · · · ·MR. WOLNOWSKI:· Let's take a five-minute
·5· · · · · · · · · ·You may answer.                             ·5· · · · · · ·break, and we'll be back in five minutes.
·6· · · · · · ·A· · ·If Aubry McMahon were a man and she were    ·6· · · · · · · · · ·Off the record, I have 6:48.
·7· · · married to a female and would have responded the way     ·7· · · · · · · · · ·MR. WARD:· Very good.
·8· · · she did to the question to say that he, in this case,    ·8· · · · · · · · · ·Thank you.
·9· · · were -- were in compliance, then that would have met     ·9· · · · · · · · · ·(WHEREUPON, a brief recess was taken,
10· · · our criteria and the subsequent e-mail to say, My        10· · · · · · ·after which the following transpired:)
11· · · wife and I are expecting a baby, would not have          11· · · · · · · · · ·(Time noted:· 6:54 p.m.)
12· · · required a further conversation with him.                12· · · · · · · · · ·MR. WOLNOWSKI:· Okay.· I don't have any
13· · · · · · ·Q· · ·And to that end, her off- -- her offer of   13· · · · · · ·further questions, Ms. Freiberg.
14· · · employment would not have been rescinded; is that        14· · · · · · · · · ·Thank you very much.
15· · · correct?                                                 15· · · · · · · · · ·THE WITNESS:· Thank you.
16· · · · · · · · · ·MR. WARD:· Objection as to form.            16· · · · · · · · · ·MR. WOLNOWSKI:· We can go off the record.
17· · · · · · · · · ·You may answer.                             17· · · · · · · · · ·THE REPORTER:· Well, before we do that,
18· · · · · · ·A· · ·Well, in this case, it would have been      18· · · · · · ·can I do housekeeping?
19· · · his offer would not have been rescinded, because we      19· · · · · · · · · ·This is a federal case, so that means,
20· · · described that scenario to be Aubry McMahon as a man.    20· · · · · · ·who's going to be taking copies of the
21· · · · · · ·Q· · ·He also wouldn't have been having a baby,   21· · · · · · ·transcript?
22· · · though, too; right?                                      22· · · · · · · · · ·MR. WOLNOWSKI:· Well, I'll certainly be,
23· · · · · · ·A· · ·Well, his wife was having the baby.         23· · · · · · ·you know, purchasing copies, and ordinarily, I
24· · · · · · ·Q· · ·If Aubry McMahon had been born              24· · · · · · ·exchange copies with opposing counsel.· So
25· · · biologically a female, yet converted to being a male     25· · · · · · ·I'll only pay for one copy and I'll be

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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2· · · at the time that he had applied for employment with      ·2· · · · · · ·providing a copy to them.· I -- I'm hopeful
·3· · · World Vision Incorporated, would he have been in         ·3· · · · · · ·that the professional courtesy is reciprocated
·4· · · violation of World Vision Incorporated standards of      ·4· · · · · · ·with respect to the deposition transcript of
                                                                 ·5· · · · · · ·Aubry.
·5· · · conduct for employees?
                                                                 ·6· · · · · · · · · ·(Discussion held off the record)
·6· · · · · · · · · ·MR. WARD:· I am going to object to form,
                                                                 ·7· · · · · · · · · ·MR. SZYMANSKI:· We'd like to request an
·7· · · · · · ·and calling for speculation.· I'm not sure        ·8· · · · · · ·expedited copy of the transcript by the 22nd.
·8· · · · · · ·about the latitude because you just keep          ·9· · · · · · · · · ·MR. WARD:· And, Matthew, we -- we should
·9· · · · · · ·posing hypotheticals.                             10· · · · · · ·pay the difference -- not Casey, but if
10· · · · · · · · · ·MR. WOLNOWSKI:· Well, Rule 26 is very       11· · · · · · ·there's an expedite charge.
11· · · · · · ·broad.· I can ask her any question that are       12· · · · · · · · · ·MR. SZYMANSKI:· Yes.· Yes.· Yes.· Cas- --
12· · · · · · ·reasonably calculated to lead to discovery of     13· · · · · · ·we're not asking Casey to bear that.
                                                                 14· · · · · · · · · ·THE REPORTER:· Okay.· We're off the
13· · · · · · ·admissible evidence proportionate to the needs
                                                                 15· · · · · · ·record at 7:00 p.m.
14· · · · · · ·of the case.
                                                                 16· · · · · · · · · ·(WHEREUPON, the examination of this
15· · · · · · · · · ·MR. WARD:· If relevant to --                17· · · · · · ·witness was concluded at 7:00 p.m.)
16· · · · · · · · · ·MR. WOLNOWSKI:· I think that that fits      18
17· · · · · · ·nicely within that broad -- broad allowance.      19· · · · · · · · · ·_______________________________
18· · · · · · · · · ·MR. WARD:· If relevant --                   · · · · · · · · · · ·MELANIE FREIBERG
19· · · · · · ·Q· · ·With that said, Ms. Freiberg, if you can    20
20· · · answer the question, please answer it.                   21
21· · · · · · · · · ·MR. WARD:· Rule 26 says if relevant to      22· · · Subscribed and sworn to before me
                                                                 · · · · this ___ day of ___________ 2023.
22· · · · · · ·the claims or defenses.
                                                                 23
23· · · · · · ·Q· · ·Ms. Freiberg, if you understand the
                                                                 24
24· · · question, could you please answer it?                    · · · · _________________________________
25· · · · · · ·A· · ·You know, I'm actually unable to answer     25· · · · · · · · ·NOTARY PUBLIC


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2                                                               ·2· · · ERRATA SHEET FOR THE TRANSCRIPT OF:
                                                                 · · · · Case Name:· AUBRY MCMAHON v WORLD VISION, INC.
·3· · · · · · · · · · · · · · I N D E X                          ·3· · · Proceeding Date:· February 16, 2023
·4                                                               · · · · Deponent:· MELANIE FREIBERG
·5· · · WITNESS· · · · · · · EXAMINATION BY· · · · · · · ·PAGE   ·4· · · Place:· Remote Video Conference
                                                                 ·5· · · · ·* PLEASE MAKE ANY CORRECTIONS/CHANGES BELOW AND
·6· · · Melanie Freiberg· · ·Mr. Wolnowski· · · · · · · · · ·5   · · · · · · · · · · · NOTE THE REASON FOR SAME *
·7                                                               ·6
·8                                                               ·7· · · PG / LN· ·/· ·NOW READS· _/· ·SHOULD READ· ·/· ·REASON
                                                                 · · · · ___/______/_______________/________________/_________
·9· · · · · · · · · · · · · · ·EXHIBITS                          ·8· · · ___/______/_______________/________________/_________
10                                                               · · · · ___/______/_______________/________________/_________
11· · · PLAINTIFF'S                                              ·9· · · ___/______/_______________/________________/_________
                                                                 · · · · ___/______/_______________/________________/_________
· · · · EXHIBITS· · DESCRIPTION· · · · · · · · · · · · · ·PAGE   10· · · ___/______/_______________/________________/_________
12                                                               · · · · ___/______/_______________/________________/_________
· · · · EX 1· · · · Bates-stamped WV-000048 through              11· · · ___/______/_______________/________________/_________
                                                                 · · · · ___/______/_______________/________________/_________
13· · · · · · · · · WV-000050· · · · · · · · · · · · · · · ·17   12· · · ___/______/_______________/________________/_________
14· · · EX 2· · · · Bates-stamped WV-000078 through              · · · · ___/______/_______________/________________/_________
· · · · · · · · · · WV-000079· · · · · · · · · · · · · · · ·37   13· · · ___/______/_______________/________________/_________
                                                                 · · · · ___/______/_______________/________________/_________
15                                                               14· · · ___/______/_______________/________________/_________
· · · · EX 3· · · · Bates-stamped WV-000080· · · · · · · · ·40   · · · · ___/______/_______________/________________/_________
16                                                               15· · · ___/______/_______________/________________/_________
                                                                 · · · · ___/______/_______________/________________/_________
· · · · EX 4· · · · Bates-stamped WV-000231 through              16· · · ___/______/_______________/________________/_________
17· · · · · · · · · WV-000232· · · · · · · · · · · · · · · ·53   · · · · ___/______/_______________/________________/_________
18· · · EX 5· · · · Bates-stamped WV-002858· · · · · · · · ·59   17· · · ___/______/_______________/________________/_________
                                                                 · · · · ___/______/_______________/________________/_________
19· · · EX 6· · · · Bates-stamped WV-000067 through              18· · · ___/______/_______________/________________/_________
· · · · · · · · · · WV-000070· · · · · · · · · · · · · · · ·63   · · · · ___/______/_______________/________________/_________
20                                                               19· · · Under penalties of perjury, I declare that I have
                                                                 · · · · read the foregoing transcript and that the facts
· · · · EX 7· · · · Bates-stamped WV-000240 through              20· · · stated in it are true.
21· · · · · · · · · WV-000244· · · · · · · · · · · · · · · ·78   21· · · _________________________· · ·_______________________
22· · · EX 8· · · · Bates-stamped WV-000242 through              · · · · MELANIE FREIBERG· · · · · · · DATE
                                                                 22
· · · · · · · · · · WV-000241· · · · · · · · · · · · · · · ·87   · · · · Subscribed and sworn to before me
23                                                               23· · · this ___ day of ___________ 2023.
24                                                               24
                                                                 · · · · _________________________________
25
                                                                 25· · · · · · · · ·NOTARY PUBLIC


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·1· · · · · · · · · · · · · · M. Freiberg                        ·1· · · · · · · · · · · · · · M. Freiberg
·2                                                               ·2
·3· · · · · · · · · · · EXHIBITS (Continued:)
                                                                 ·3· · · · · · · · · · · ·C E R T I F I C A T E
·4
· · · · PLAINTIFF'S                                              ·4
·5· · · EXHIBITS· · DESCRIPTION· · · · · · · · · · · · · ·PAGE   ·5· · · · · · ·I, THERESA RATIGAN, a Shorthand Reporter and
·6· · · EX 9· · · · Bates-stamped WV-000081 through              ·6· · · Notary Public of the State of New York, do hereby
· · · · · · · · · · WV-000082· · · · · · · · · · · · · · · ·92
                                                                 ·7· · · certify:
·7
· · · · EX 10· · · ·IMG_5098 3.mps (deemed marked)· · · · ·105   ·8· · · · · · ·That the witness whose examination is
·8                                                               ·9· · · hereinbefore set forth, was duly sworn, and that such
· · · · EX 11· · · ·Bates-stamped WV-000035 through
                                                                 10· · · examination is a true record of the testimony given
·9· · · · · · · · · WV-000036· · · · · · · · · · · · · · · 111
                                                                 11· · · by such witness.
10· · · EX 12· · · ·Bates-stamped WV-002852 through
· · · · · · · · · · WV-002853· · · · · · · · · · · · · · · 118   12· · · · · · ·I further certify that I am not related to any
11                                                               13· · · of the parties to this action by blood or marriage;
12· · · · · · · · · ·(WHEREUPON, original exhibits marked
                                                                 14· · · and that I am in no way interested in the outcome of
13· · · · · · ·during today's deposition were retained by
14· · · · · · ·U.S. Legal Support.)                              15· · · this matter.
15                                                               16· · · · · · ·IN WITNESS WHEREOF, I have hereunto set my
16· · · · · · · · · · · INFORMATION TO BE FURNISHED              17· · · hand this 22nd day of February 2023.
17
                                                                 18
18· · · DESCRIPTION· · · · · · · · · · · · · · · · ·PAGE/LINE
19· · · Full e-mail chain re:· Plaintiff's 4· · · · · 53/24      19
20· · · Posting of specific job re:· Plaintiff's 1· · 83/21      20· · · · · · · · · ·_____________________________
21· · · Written training documentation relating to               · · · · · · · · · · ·THERESA RATIGAN
· · · · Plaintiff's 1, numbers 11 and 12· · · · · · · 84/6
                                                                 21
22
· · · · Full e-mail re:· Plaintiff 8· · · · · · · · · 88/7       22
23                                                               23
· · · · "Script" document· · · · · · · · · · · · · · ·89/19
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